UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 JOINT STOCK COMPANY CHANNEL ONE
                                                                      9/26/2019
 RUSSIA WORLDWIDE, et al.,
                 Plaintiffs,                           16-CV-1318 (GBD) (BCM)
         -against-
                                                       OPINION AND ORDER
 INFOMIR LLC, et al.,
                 Defendants.

BARBARA MOSES, United States Magistrate Judge.

       By motion dated November 5, 2018 (Dkt. No. 692), defendant Infomir LLC (Infomir) seeks

discovery sanctions against plaintiffs for their repeated failure to produce electronically stored

information (ESI) evidencing an investigation conducted in May 2016 by Christopher Vidulich,

a paralegal employed by plaintiffs’ counsel, who used the “Wireshark” network protocol

analyzer in an effort to determine the source of a video stream that he viewed through an

Infomir brand internet protocol television (IPTV) receiver (the Wireshark Investigation).

Vidulich first described his investigation in an affidavit dated June 24, 2016 (the Vidulich

Affidavit), which plaintiffs filed in support of their successful motion for leave to amend

their initial Complaint. Since then, plaintiffs have continued to rely on the Vidulich Affidavit

– refiling it verbatim as an exhibit to their First Amended Complaint (FAC) and referencing it

repeatedly in other filings – in support of their contention that Infomir unlawfully “streams” an

unauthorized version of plaintiffs’ television programming to consumers in the United States

over the internet.

       The only complete record of the Wireshark Investigation is a native-format

electronic “packet capture” file that Vidulich saved to the laptop computer on which he

conducted     the    investigation   (the   Firm   Laptop)   under   the   name   “Channel   One

Capture.pcapng” (the Channel One PCAP). However, plaintiffs did not produce the Channel One

PCAP to Infomir for more than two years, until October 12, 2018. They failed to produce it

as part of their automatic disclosures
pursuant to Fed. R. Civ. P. 26(a)(1)(A); failed to produce it in response to Infomir’s May 3, 2017

request for all documents “relating to any inspection, test or examination of any device alleged to

be originating from or the responsibility of Infomir”; failed to produce it in response to an April

12, 2018 subpoena duces tecum addressed to Vidulich himself, seeking “all documentation related

to, and data collected from” the Wireshark Investigation; failed to produce it in response to this

Court’s Discovery Order dated April 25, 2018, instructing plaintiffs to turn over “any additional

documents in their possession, custody, or control . . . constituting or recording the information

and data that Vidulich acquired as a result of his investigatory activities”; and failed once again to

produce it in response to this Court’s Order dated July 3, 2018, directing them to “conduct a further

search of their records, including ESI, and [] produce any additional documents constituting or

recording the information and data that Vidulich acquired as a result of his investigatory activities.”

       On or about June 22, 2018 – while subject to, and purportedly in furtherance of, the April

25, 2018 Discovery Order – Vidulich moved the Channel One PCAP from the Firm Laptop to

another computer at the offices of plaintiffs’ counsel. Consequently, on July 2, 2018, when

plaintiffs turned over the Firm Laptop for imaging and inspection by Infomir’s experts, the

Channel One PCAP was no longer on it. On August 29, 2018, Vidulich testified under oath that

the Wireshark data underlying the Vidulich Affidavit “wasn’t saved.” That was not true. However,

under increasing pressure from Infomir – which on September 14, 2018, requested leave to move

for spoliation sanctions – Vidulich reaffirmed his untruthful testimony in a sworn affidavit dated

September 21, 2018, once again stating, under oath, that he did not save any data from the

investigation described in his original affidavit, except in the form of screenshots, and that

plaintiffs had already produced “everything that was retained.” As late as October 5, 2018 – after


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Infomir’s forensic experts discovered (and explained to plaintiffs) that there had once been a

native-format Wireshark file called “Channel One Capture.pcapng” on the Firm Laptop, but that

it was no longer there – plaintiffs’ counsel again denied that any such file existed, and insisted that

they had turned over “[e]verything that was saved.”

       On October 12, 2018, when plaintiffs’ lawyers finally produced the Channel One PCAP,

they explained that its earlier “omission” was “inadvertent” – relying on another affidavit from

Vidulich in which he stressed his lack of “specialized technical knowledge” – and blamed Infomir

for the delay, on the theory that it should have forensically examined the Firm Laptop earlier than

it did. Plaintiffs did not disclose (and would not, for another two months) that Vidulich was taught

how to use the Wireshark program and analyze its results by Dmitri Dietrich, the Chief Technology

Officer of Kartina Digital GmbH (Kartina). Although not formally a party to this action, Kartina

pays plaintiffs’ legal fees and coordinates their legal strategy.

       After producing the Channel One PCAP, plaintiffs demanded that Infomir withdraw its

September 14, 2018 request because “there was no spoliation vis-à-vis the ‘.pcap’ file as

wrongfully alleged.” Infomir agreed that the issue was no longer “one of spoliation,” and instead

moved for sanctions pursuant to Fed. R. Civ. P. 37(b) and this Court’s inherent powers, arguing

that plaintiffs and their counsel violated multiple discovery orders, made a series of false

statements to the Court, and engaged in related obstructive tactics designed to prevent Infomir

from discovering that the Channel One PCAP “fundamentally contradicts” Vidulich’s sworn

description of the May 2016 Wireshark Investigation and its results.

       In support of its motion, Infomir has presented credible expert evidence demonstrating that

the Wireshark Investigation did not occur on the date or in the manner repeatedly sworn to by


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Vidulich. These facts have been largely corroborated by plaintiffs’ expert – the same Dmitri

Dietrich who taught Vidulich how to use Wireshark – and are now conceded by Vidulich himself.

Moreover, both sides’ experts agree that the key factual assertion in the Vidulich Affidavit – that

he “trace[d] the source” of an unauthorized IPTV stream of one of plaintiffs’ channels to a specific

domain, “freetvstat.iptv.infomir.com.ua,” affiliated with Infomir, with an IP address located in the

United States – was inaccurate. The long-withheld Channel One PCAP shows that

“freetvstat.iptv.infomir.com.ua” was not the source of the unauthorized video stream.

          For the reasons set forth below, Infomir’s motion will be granted. As a sanction, the Court

will preclude plaintiffs from introducing or relying on the Vidulich Affidavit, any other report of,

testimony about, or opinions based on the Wireshark Investigation, and any data or information

captured during that Wireshark Investigation, including but not limited to the Channel One PCAP.

In addition, plaintiffs and their counsel must reimburse Infomir for its attorney’s fees, expert fees,

and other costs reasonably incurred in uncovering the Channel One PCAP and making its sanctions

motion.

I.     BACKGROUND

       Plaintiffs Joint Stock Company Channel One Russia Worldwide (Joint Stock Company

Channel One), Closed Joint Stock Company CTC Network, Closed Joint Stock Company TV

DARIAL, Closed Joint Stock Company “New Channel,” Limited Liability Company “Rain TV-

Channel,” and Limited Liability Company “Comedy TV,” n/k/a Limited Liability Company

Global Entertainment TV, are a group of Russian television broadcasters (sometimes referred to

as the Broadcasters), suing to redress what they characterize as the “pirating” and resale of their

television programming to consumers in the United States, over the internet, without authorization


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or license fees. See FAC (Dkt. No. 211) ¶ 1. Plaintiffs are “organized under the laws of the Russian

Federation,” id. ¶¶ 6, 15, 19, 21, 23, 26, and most are headquartered in Moscow. Id. ¶¶ 6, 23, 26.

Their programming is broadcast via satellite in Russia and neighboring countries. Id. ¶ 62.

Defendant Infomir is a New York limited liability company. Id. ¶ 30 & Ex. 5.1

       A.     The Original Complaint

       Plaintiffs filed this lawsuit on February 19, 2016, against nine different defendants,

charging generally that all of them engaged in the “unauthorized interception, copying and

distribution of encrypted transmissions of [the] Broadcasters’ famous Channels and Programming

to paying consumers in this judicial district and throughout the United States,” in violation of, inter

alia, § 605(a) of the Federal Communications Act (FCA), 42 U.S.C. § 605(a); the Copyright Act,

as amended by the Digital Millennium Copyright Act (DMCA), 17 U.S.C. § 1201 et seq.; § 43 of

the Lanham Act, 15 U.S.C. § 1125; and § 349 of the New York General Business Law (GBL).

Compl. (Dkt. No. 1) ¶¶ 6, 92-156. According to plaintiffs, all defendants “hack, capture or

otherwise acquire without permission the encrypted signals of the Plaintiffs’ Channels and transmit

those signals to its servers which in turn stream the wrongfully acquired signals over IPTV to

paying customers in this judicial district and elsewhere.” Id. ¶ 86.



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 The factual background and procedural history of this action, as relevant to the instant sanctions
motion, are described in more detail in the Court’s prior opinions in this action, including Joint
Stock Co. Channel One Russia Worldwide v. Infomir LLC, 2017 WL 696126 (S.D.N.Y. Feb. 15,
2017), report and recommendation adopted, 2017 WL 2988249 (S.D.N.Y. Mar. 27, 2017); Joint
Stock Co. Channel One Russia Worldwide v. Infomir LLC, 2018 WL 2932725 (S.D.N.Y. June 12,
2018); Joint Stock Co. Channel One Russia Worldwide v. Infomir LLC, 2018 WL 4681616
(S.D.N.Y. Sept. 11, 2018), report and recommendation adopted, 2018 WL 4666069 (S.D.N.Y.
Sept. 28, 2018); Joint Stock Co. Channel One Russia Worldwide v. Infomir LLC, 2018 WL
4907911 (S.D.N.Y. Sept. 25, 2018); Joint Stock Co. Channel One Russia Worldwide v. Infomir
LLC, 2018 WL 6712769 (S.D.N.Y. Nov. 30, 2018). Familiarity with these opinions is assumed.

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       As to some of the defendants, plaintiffs provided supporting facts or exhibits. See, e.g.,

Compl. ¶ 87 & Ex. 11 (alleging that defendant Actava TV, Inc. streamed plaintiff’s channels

through its website www.actava.tv). As to Infomir, however, plaintiffs’ only specific factual

allegations were that it maintained an interactive website, id. ¶¶ 7, 55, through which it was “selling

receivers with which it is possible to receive Plaintiffs’ channels without authorization.” Id. ¶ 56;

see also id. ¶ 90(b) & Ex. 14 (showing “Infomir’s homepage offering receiver boxes”).

       B.     Kartina

       The Broadcasters are not the only entities with an interest in policing unauthorized

transmission of their content. Plaintiffs distribute their programming through various licensees,

including Kartina, which offers plaintiffs’ Russian-language channels to U.S. consumers over

IPTV for a monthly subscription fee of $29 (in 2018). See Panfilova Decl. (Dkt. No. 629) ¶¶ 3, 8,

31. Kartina suffers economically when “pirates” offer the same or similar subscription services at

cut-rate prices. See id. ¶ 5 (“many pirates in the U.S.” charge “50% to 70% less than Kartina does

for Broadcasters’ content because Kartina pays substantial license fees for Broadcasters’

content.”); id. ¶¶ 28-31 (listing 11 “major pirates” and comparing their prices to Kartina’s).

       Although Kartina is not named as a plaintiff in this action, it is Kartina – not the

Broadcasters – that retained the law firm Dunnington, Bartholew & Miller LLP (Dunnington),

which now serves as plaintiffs’ counsel of record, to investigate and prosecute this and other

“piracy” actions. Panfilova Decl. ¶¶ 7-8 & Exs. B, C. Similarly, it is Kartina – not the Broadcasters

– that pays Dunnington’s fees. Id. Prior to the disclosure of these facts in 2018, Kartina’s role was

kept confidential, for “commercial reasons.” Id. ¶ 15. Kartina works “very closely with

Dunnington,” “crafting pleadings and coordinating a joint legal strategy to be pursued on behalf


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of the Broadcasters.” Id. ¶ 17. Kartina claims that it, like plaintiffs themselves, has an attorney-

client relationship with Dunnington, and has repeatedly invoked the attorney-client privilege

and/or the work product doctrine to shield its communications with Dunnington and some of its

investigatory activities. See, e.g., id. ¶¶ 17-19.

        C.    Infomir’s Motion to Dismiss

        On June 2, 2016, Infomir moved to dismiss the claims against it pursuant to Fed. R. Civ.

P. 12(b)(6), arguing that it was differently situated from its co-defendants:

        Regarding Infomir, the complaint alleges only that Infomir manufactures and sells
        set-top IPTV receivers which can be purchased from Infomir’s website on the
        world-wide-web and which are capable of receiving IPTV streams over the internet.
        It does not allege that Infomir’s IPTV set top boxes are illegal nor that their use is
        intended for or limited to nefarious purposes. Rather, the complaint alleges simply
        that with an Infomir set top box, “it is possible to receive Plaintiffs’ channels
        without authorization.” ¶ 56. These are the only facts pleaded against Infomir.
        Accepted as true, they are insufficient to support a finding of liability against
        Infomir.

Infomir Mem. dated June 2, 2016 (Dkt. No. 67), at 1; see also id. at 5 (“Plaintiffs do not allege that

Infomir is involved in obtaining, decrypting or broadcasting their content.”). Therefore, Infomir

argued, plaintiffs failed to state any claim against it under the FCA, the Lanham Act, the Copyright

Act, or the GBL. Id. at 9-20.

        D.    The Vidulich Affidavit

        Plaintiffs opposed the motion to dismiss and cross-moved for leave to amend, relying in

substantial part on the June 24, 2016 Vidulich Affidavit. See Notice of Cross-Motion (Dkt. No.

78) at 1; Vidulich Aff. (Dkt. No. 80) ¶ 1.2 Vidulich was employed by Dunnington as a paralegal.




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  Vidulich has submitted multiple affidavits over the course of this action. Unless otherwise
specified, references in this Opinion and Order to the “Vidulich Affidavit” or “Vidulich Aff.” are
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Vidulich Aff. ¶ 1. The purpose of his affidavit was to “explain the functionality” of Infomir’s set-

top boxes (STBs), “using the example of Infomir’s AURA HD box.” Id. ¶ 2. Carefully noting that

he had no “specialized technical knowledge,” id. ¶ 3, Vidulich explained (relying in part on a

Wikipedia article) that the AURA HD is a “specialized type” of STB, called an “IPTV receiver,”

that can (among other things) receive, decode, and play “video streaming media” delivered over

the internet. Id. ¶ 9 & Ex. 3. The AURA HD that Vidulich obtained for purposes of his affidavit

was apparently manufactured by Telecommunication Technologies, Ltd. (Teletec), a Ukrainian

entity which is allegedly affiliated with Infomir, see FAC ¶ 32, but is not a party to this action.

Vidulich Aff. ¶ 11 & Ex. 5.

       Vidulich attested that on May 13, 2016, he connected the AURA HD box to a projector

and a laptop computer, logged onto Dunnington’s wireless internet connection, and was able to

watch Russian-language programming, including Channel One (a channel produced by lead

plaintiff Joint Stock Company Channel One). Vidulich Aff. ¶¶ 11-17 & Exs. 6-13. It is not clear

from the Vidulich Affidavit whether, as part of the experiment, Vidulich also logged into a third-

party IPTV subscription service.3

       Vidulich further attested that on May 27, 2016, he set out to “analyze the source of the

content being streamed into the AURA HD box.” Vidulich Aff. ¶ 19. He used Wireshark, a

“network protocol analyzer” that could “capture the Internet Protocol [IP] addresses of the sources



to his affidavit dated June 24, 2016, first filed at Dkt. No. 80. References to affidavits signed by
Vidulich on other dates are cited as “[date] Vidulich Aff.”
3
  There are many such services available in the marketplace. As noted above, Kartina offers
plaintiffs’ programming to U.S. consumers over IPTV for a monthly subscription fee. See
Panfilova Decl. ¶¶ 3, 8, 31. In addition, plaintiffs allege that there are many “pirate” entities
offering similar services at cut-rate prices. See FAC ¶¶ 4, 37-38; Panfilova Decl. ¶¶ 5, 28-31.

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sending video streaming media” to the STB while he was using it to view Channel One. Id. ¶¶ 20-

23. According to his affidavit, Vidulich “scanned through the activity that was captured while the

Channel One Stream was active,” and saw that “the AURA HD box connected to

‘freetvstat.iptv.infomir.com.ua,’” at the IP address 66.234.224.2, id. ¶ 24, and later that it

connected to a “stalker portal,” at the IP address 37.58.59.33, which he believed to be a reference

to the “Stalker Middleware” offered by Infomir. Id. ¶ 26. Vidulich attached two screenshots (the

Channel One Screenshots) of what he called Wireshark “readouts” displaying the STB’s

“connection with Infomir.” Id. ¶¶ 24, 26, Exs. 14, 16. At the bottom of each Channel One

Screenshot is the date – May 27, 2016 – and in the top left-hand corner is the name of the file that

was open when the screenshot was taken: “Channel One Capture.pcapng.” Id. Exs. 14, 16.4

       Vidulich consulted another website, “www.iplocation.net,” from which he learned that the

IP address 66.234.224.2 was located “within the United States.” Vidulich Aff. ¶ 25 & Ex. 15.

       Vidulich noted that Infomir claimed, on its own website, that it is “not involved in any

content distribution activity.” Vidulich Aff. ¶ 30. However, he concluded, “this assertion appears

to be incorrect in light of the fact that I was able to trace the source of Channel One to

freetvstat.iptv.infomir.com.ua.” Id. ¶ 30 (emphasis added).


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  The first Channel One Screenshot (originally attached as Exhibit 14 to the Vidulich Affidavit) is
reproduced the Appendix to this Opinion and Order. It shows a multi-column table that lists,
among other things, the “source” and “destination” of the data being transmitted in each “packet”
that was captured by the Wireshark program. Approximately one-third of the way down the table,
at packet No. 72 (with the time stamp 22.970968), the screenshot appears to show that Vidulich’s
STB was communicating with a “destination” server at the IP address 66.234.224.2. In the
corresponding “info” column, the screenshot displays: “Standard query 0x1c60 A
freetvstat.iptv.infomir.com.ua.” At packet 73 (with the timestamp 22.980869), the screenshot
appears to show that the STB was receiving a communication from a “source” server at the same
IP address. The “info” column reads, “Standard query response 0x1c60 Refused A
freetvstat.iptv.infomir.com.ua.” These lines are highlighted the Appendix.

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       E.    Wireshark

       Plaintiffs and Infomir have provided the Court with expert declarations and testimony

explaining what Wireshark is and how it captures and stores information. Infomir submitted a

report by Christopher T. Rucinski,5 who explains:

       Wireshark . . . is a software program that allows a user to create a record of data
       packets transmitted across a computer network by “capturing” the data packets in
       a file. Wireshark can also be utilized by a user to subsequently analyze the captured
       data packets, and such analysis can include identifying the source, destination, and
       content of the captured data packets. The file format in which Wireshark captures
       data packets is sometimes referred to as “PCAP” format, which is short for “Packet
       Capture,” and such files typically have a file extension of “.pcap.”

Rucinski Rep. at 1-2.

       Plaintiffs submitted the Declaration of Dmitri Dietrich,6 who agrees that “Wireshark is a

software program that allows a user to record data transmission across computer networks by

capturing data in a file. The file format in which Wireshark stores captured data is the ‘PCAP’

format with file extension ‘.pcap’ or ‘.pcapng.’” Dietrich Decl. ¶ 7. Thus, as Dietrich confirms,

“[t]he Channel One PCAP” that was open on Vidulich’s laptop when he took the Channel One

Screenshots was “saved with the file extension ‘.pcapng’ indicating that the file is a PCAP file and

can therefore be opened and analyzed on Wireshark.” Id.




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  Rucinski holds an A.B. in computer science from Princeton University and has worked since
2010 as a consultant, first at Elysium Digital LLC (Elysium), and then at Stroz Friedberg LLC
(Stroz Friedberg), which acquired Elysium in 2015. See Rucinski Rep. (Dkt. No. 694-1) at 1.
6
 Dietrich holds a degree in computer science from Fachhochschule Wiesbaden (now known, in
English, as the RheinMain University of Applied Sciences). Dietrich Decl. (Dkt. No. 708) ¶ 4. As
of the date of his declaration, he had worked for Kartina for nearly 12 years and served as its Chief
Technical Officer in Weisbaden, Germany. Id. ¶¶ 1, 3.

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       F.     Plaintiffs’ Cross-Motion to Amend

       Plaintiffs opposed Infomir’s motion to dismiss the claims against it and cross-moved for

leave to amend. In their accompanying brief, they relied heavily on the conclusions drawn by

Vidulich from his Wireshark Investigation, asserting – among other things – that the “Channel

One stream accessible by [Infomir’s] AURA HD set-top box was traceable to

‘freetvstat.iptv.infomir.com.ua’” and “streamed through a website owned by Infomir.” Pl. Mem.

dated June 24, 2016 (Dkt. No. 81), at 7, 14. Therefore, plaintiffs argued, “the entire factual basis

of Infomir’s motion – that Infomir is nothing more than an innocent hardware supplier – is

demonstrably false.” Id. at 8. Plaintiffs urged the Court to give them leave to replead their claims

against Infomir in more detail, using the “facts set forth in the Vidulich Aff.” Id. at 14.

       After reviewing the Vidulich Affidavit, I recommended that plaintiffs be granted leave to

amend and that Infomir’s motion to dismiss be denied as moot. See Report and Recommendation

dated Feb. 15, 2016 (Dkt. No. 181), at 6, 30. On March 27, 2017, the Hon. George B. Daniels,

United States District Judge, adopted my recommendation, granted plaintiffs’ motion to amend,

and denied Infomir’s motion to dismiss as moot. (Dkt. No. 201.)

       G.     Plaintiffs’ First Amended Complaint and Summary Judgment Motions

       In the First Amended Complaint, filed on April 5, 2017, plaintiffs attach and expressly rely

on the Vidulich Affidavit to support their claim that Infomir re-transmits plaintiffs’ channels via

IPTV, in violation of the FCA, the Copyright Act, the Lanham Act, and the GBL. FAC ¶¶ 1-2,

115, 196, 204-15, 220-45, 262-316. See also id. ¶ 197 & Ex. 15 (alleging that the Vidulich

Affidavit “detail[s] Infomir’s unlawful conduct”). In addition, plaintiffs once again assert that the

Infomir brand STBs are “primarily designed for the purposes of circumventing the Broadcasters’

technological measures controlling access to Broadcasters’ copyrighted works,” id. ¶ 256, such
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that the sale of these products, in and of itself, violates § 604(e) of the FCA and the DMCA, 17

U.S.C. § 1201(b). FAC ¶¶ 1, 2, 116, 118-20, 216-19, 246-61. Thus, plaintiffs allege, “the Infomir

Defendants both operate a pirate streaming service and manufacture and sell equipment and

software designed to assist and profit from other pirates.” Id. ¶ 1 (emphasis added).7

       Since the filing of the FAC, plaintiffs’ senior executives have repeatedly vouched for the

Vidulich Affidavit and its conclusions. Alexander Shprekher, the Deputy CEO and Head of

Strategy and Business Development for lead plaintiff Joint Stock Company Channel One, declared

under penalty of perjury on March 23, 2018 that the facts asserted in the Vidulich Affidavit “are

true.” Shprekher Decl. (Dkt. No. 550) ¶ 7; see also id. ¶ 55 (“a review of the [Vidulich Affidavit]

clearly shows an unauthorized Ukrainian source for Infomir’s streams to the U.S.:

freetvstat.iptv.infomir.com.ua”).8 A few weeks later, senior executives at Limited Liability

Company “Rain TV-Channel,” Limited Liability Company Global Entertainment TV, and CTC

Media (the parent company of Closed Joint Stock Company CTC Network, Closed Joint Stock

Company TV DARIAL, and Closed Joint Stock Company “New Channel”) similarly affirmed,




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  The “Infomir Defendants,” as that term is used in the FAC, include Infomir itself, Teletec, a
German entity called Infomir GmbH, and two individuals. See FAC at 1, ¶¶ 30-34. On January 3,
2018, plaintiffs voluntarily dismissed their claims against Teletec and the two individuals. (Dkt.
No. 492.) On September 28, 2018, acting on my recommendation, Judge Daniels dismissed
plaintiffs’ claims against Infomir GmbH for lack of personal jurisdiction. (Dkt. No. 675.) Only
one “Infomir Defendant” – the New York LLC – remains a party to this action.
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  The top level domain “.ua” is Ukrainian. Shprekher Decl. ¶ 55. This is apparently the basis for
Shprekher’s assertion that the server freetvstat.iptv.infomir.com.ua – which Vidulich identified as
the source of the pirated Channel One broadcast he viewed during the Wireshark Investigation –
was “located in Ukraine.” Id. Vidulich himself, however, attested that the IP address for
freetvstat.iptv.infomir.com.ua was 66.234.224.2 and that it was “located within the United States.”
Vidulich Aff. ¶ 25. Shprekher did not address this discrepancy.

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under oath, that the facts stated in the Vidulich Affirmation “are true.” Sindeeva Decl. (Dkt. No.

574-1) ¶ 6; Chistov Decl. (Dkt. No. 574-2) ¶ 8; Kostyuk Decl. (Dkt. No. 574-3) ¶ 7.

       In addition, plaintiffs relied on the Vidulich Affidavit to support two separate motions for

summary judgment against Infomir, each of which they later withdrew. See Pl. Mem. dated May

23, 2017 (Dkt. No. 269), at 14 (“the Programming was streaming from, among other sources,

‘freetvstat.iptv.infomir.com.ua’”), motion withdrawn by Order dated February 9, 2018 (Dkt. No.

522); Pl. Mem. of Law dated March 23, 2018 (Dkt. No. 547), at 6 (“Broadcasters have tracked U.S.

video streams of pirated Channel One programming viewed on Infomir STBs to an Infomir affiliated

server, freetvstat.iptv.infomir.com.ua, located in Ukraine.”); motion withdrawn by Order dated

October 9, 2018 (Dkt. No. 679).

       H.    Plaintiffs Fail to Produce the Channel One PCAP

       The parties were required to exchange their initial disclosures pursuant to Fed. R. Civ. P.

26(a)(1)(A) on May 3, 2017. (Dkt. No. 236.) Despite plaintiffs’ repeated reliance on the Vidulich

Affidavit, they failed to produce the Channel One PCAP (or any other Wireshark ESI) at that time.

Nor did they produce those materials in response to Infomir’s May 3, 2017 document requests,

which asked for documents “relating to any inspection, test or examination of any device alleged

to be originating from or the responsibility of Infomir.” See Infomir Ltr. dated Feb. 6, 2018 (Dkt.

No. 516), at 2; id. Ex. A, Doc. Req. No. 56. Thus, as of February 6, 2018 – nine months after the

document requests were served, and less than six weeks before fact discovery was then scheduled

to close (see Amend. Case Mgmt. Order (Dkt. No. 429) ¶ 2) – plaintiffs had produced no

documents concerning the Wireshark Investigation other than the Channel One Screenshots.




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Infomir Ltr. dated Feb. 6, 2018, at 2; Infomir Mem. dated Nov. 5, 2018 (Infomir Moving Mem.)

(Dkt. No. 693), at 8.

       During a discovery conference on February 9, 2018, Infomir sought documents and

information concerning Vidulich’s May 2016 investigations. I directed plaintiffs to turn over the

usernames and passwords that Vidulich used to conduct his investigations, so that defendants could

“trace his footsteps” and “double-check that he did what he said what he did.” 2/9/18 Conf. Tr.

(Dkt. No. 529) at 82:24-83:11, 90:17-21. Infomir’s attorney then sought an order compelling

plaintiffs to supplement their production in response to document request No. 56, limited to tests

that “plaintiffs, not their attorneys, have done, tests, examination, inspection, et cetera with respect

to any hardware that they allege is ours.” Id. at 121:15-19. I granted the application and directed

plaintiffs to provide a supplemental response to No. 56, “with respect to any hardware testing

conducted not by counsel or by an expert under counsel’s direction but by the client.” Id. at 121:21-

24. See also Order dated Feb. 13, 2018 (2/13/18 Order) (Dkt. No. 524), ¶¶ 5, 7(a).

       I.     The Vidulich Subpoena

       On March 23, 2018, plaintiffs filed their second summary judgment motion, which relied

on the Vidulich Affidavit to establish that Channel One’s programming was unlawfully streamed

into the United States from “an Infomir affiliated server, freetvstat.iptv.infomir.com.ua, located in

Ukraine.” Pl. Mem. of Law dated March 23, 2018, at 6. On April 16, 2018, in a joint letter updating

the Court on the parties’ discovery disputes, Infomir advised that it had “noticed the deposition of

Mr. Vidulich,” and sought an order compelling plaintiffs to disclose “the electronically stored data

from the ‘network protocol analyzer’ referenced in Mr. Vidulich’s affidavits.” Joint Ltr. dated Apr.

16, 2018 (Dkt. No. 566), at 4; see also Vidulich Subpoena (Dkt. No. 711-5) at ECF page 5 (seeking


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“[a]ny and all documentation related to, and data collected from, the ‘network protocol analyzer’

you used in your alleged 2016 investigation”).

       Plaintiffs opposed the request, arguing that the Vidulich deposition subpoena constituted

“dilatory harassment of a paralegal,” and that any ESI generated by his Wireshark Investigation

would be protected from discovery by the work product doctrine. Joint Ltr. dated Apr. 16, 2018,

at 5. At the same time, however, plaintiffs offered “to allow a forensic investigator to inspect the

devices used by Mr. Vidulich at a date and time agreed upon by the parties.” Id.

       At a discovery conference on April 19, 2018, I advised the parties that Vidulich was “a fact

witness who can be examined at deposition on matters of fact,” including “his actual investigatory

activities,” but “not his strategic communications or directions or reports” to Dunnington.

4/19/2018 Conf. Tr. (Dkt. No. 570) at 95:8-19. Infomir then pressed its request for “all of the data

that came out of that [May 2016] investigation. The most obvious piece of that is a data file that

was generated when Mr. Vidulich used what you called a network analyzing program.” Id. at 97:2-

5. Infomir noted that only screenshots had been produced thus far and explained, “We want to see

– and I think we’re entitled to see the full data file” generated during the May 27, 2016 Wireshark

Investigation. Id. at 97:8-10. One of plaintiffs’ lawyers, Dunnington partner Samuel Blaustein,

agreed to “extract” that data from the Firm Laptop with the help of “our in-house person” or, if

necessary, “perhaps an outside source.” Id. at 99:20-100:10.

       J.     The April 25, 2018 Order

       In a written Discovery Order dated April 25, 2018 (4/25/18 Order) (Dkt. No. 569), I

directed plaintiffs to produce Vidulich for deposition and reiterated that he could be examined

concerning “the facts concerning the websites, apps, and software he accessed or utilized, the


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observations he made when he did so, and the information and data he acquired as a result of these

activities.” 4/25/18 Order at 4. In addition, I directed plaintiffs to produce:

       any additional documents in their possession, custody, or control (beyond those
       attached as exhibits to the witness’s various declarations) constituting or recording
       the information and data that Vidulich acquired as a result of his investigatory
       activities. These documents are responsive to Infomir’s Document Request No. 56
       and are not themselves privileged.

Id. at 5. The fact discovery deadline was extended to May 31, 2018 to accommodate the Vidulich

deposition and related document production, as well as certain other discovery. Id. at 12.

       On May 9, 2018, plaintiffs objected to the 4/25/18 Order pursuant to Fed. R. Civ. P. 72(a),

arguing that “[t]he deposition of Dunnington paralegal Christopher Vidulich is pure harassment to

run up legal costs.” Pl. Mem. dated May 9, 2018 (Dkt. No. 581), at 6. On June 12, 2018, the

district judge overruled plaintiffs’ objections. (Dkt. No. 605.)

       K.     The June 26, 2018 Conference

       Plaintiffs did not produce Vidulich for deposition by May 31, 2018. Nor did they produce

the Channel One PCAP – or any other ESI “constituting or recording the information and data that

Vidulich acquired as a result of his investigatory activities,” as directed by the 4/25/18 Order. See

Joint Ltr. dated Jun. 15, 2018 (Dkt. No. 611), at 3, 12.

       On June 22, 2018 – three weeks past the deadline set by the 4/25/18 Order – plaintiffs

produced a document that they described as “an output data file for a Wireshark search that

Christopher Vidulich completed on May 24, 2016.” Leviss Decl. dated Nov. 5, 2018 (Dkt. No.

694), Ex. C. The Vidulich Affidavit described a Wireshark investigation performed three days

later, on May 27, 2016. Plaintiffs did not comment on the date discrepancy. Nor did they explain




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why the “output data” was produced as an “XPS” file with the extension “.xps” (the Channel One

XPS), but not as a PCAP file (with the extension “.pcap”), which is Wireshark’s native format.9

        On June 26, 2018, during another discovery conference, Infomir noted that the Channel

One XPS and the Channel One PDF appeared to relate to a May 24, 2016 Wireshark investigation

rather than the May 27, 2016 investigation described in the Vidulich Affidavit, and complained

that plaintiffs would not “clarify whether there were other investigations, whether they’re going to

give us the data from the May 27th investigation, whether this is exclusive, or why we can't get

the Wireshark data” underlying the investigation described in the Vidulich Affidavit. 06/26/2018

Conf. Tr. (Dkt. No. 694-7) at 136:9-18. One of plaintiffs’ attorneys, Dunnington associate Hardin

Rowley, assured the Court that “[a]ll the documents [Vidulich] created have been produced,” id.

at 137:8-9, see also id. at 138:23-139:3, adding that Dunnington was only able to extract “one file”

from the Firm Laptop, presumably meaning the Channel One XPS, “and that’s all we were able to

get.” Id. at 137:12-13; see also id. at 139:22-23 (“We did the search of the laptop last week, and

we provided them with the file we found.”).




9
  When plaintiffs produced the Channel One XPS they also included a version of the same
document converted to Portable Document Format with the extension “.pdf” (the Channel One
PDF). Leviss Decl. Ex. C. “XPS” is a Microsoft file format which (according to non-Microsoft
sources) was intended to be “Microsoft’s alternative to PDF” but “never gained much traction.”
Chris Hoffman, What Is an XPS File, and Why Does Windows Want Me to Print to One?, How-
To Geek (July 5, 2017, 11:44 AM), https://www.howtogeek.com/148499/what-is-an-xps-file-and-
why-does-windows-want-me-to-print-to-one/. “An XPS file represents a document with a fixed
layout, just as a PDF file does.” Id. As discussed in more detail below, neither an XPS file nor a
PDF file contains “all of the data” recorded during a Wireshark capture. Rucinski Rep. at 7. The
“full data payload,” including “the actual text and video data that was received during the
Wireshark capture,” is preserved only in the native format PCAP file created when the capture
occurs. Id. at 9.

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        Plaintiffs did not address the date discrepancy. They did, however, offer again to produce

the Firm Laptop for examination, 06/26/2018 Conf. Tr. at 137:16-18, and I gave Infomir a deadline

to respond. Id. at 140:9-141:13. On June 29, 2018, Infomir reported that it had hired Stroz

Friedberg to image the laptop and perform a forensic analysis. (Dkt. No. 615.)

        L.    The July 3, 2018 Order

        Following the June 26 conference, I issued a written Order, dated July 3, 2018, directing

plaintiffs to “conduct a further search of their records, including ESI, and [] produce any additional

documents constituting or recording the information and data that Vidulich acquired as a result of

his investigatory activities.” 7/3/18 Order (Dkt. No. 617) ¶ 7. Noting that plaintiffs had not yet

produced any data from the May 27, 2016 Wireshark Investigation, I stressed the importance of

that data – to back up plaintiffs’ claim that “Infomir was involved in ‘content distribution activity’”

– and directed plaintiffs to complete their search and produce all remaining documents by July 10,

2018. Id. I specifically warned plaintiffs that Infomir’s forensic analysis of the Firm Laptop, which

was underway, “does not relieve plaintiffs of their obligation, set forth above, to produce any

additional documents constituting or recording the information and data that Vidulich acquired as

a result of his investigatory activities no later than July 10, 2018.” Id. ¶ 8. The 7/3/18 Order directed

the parties to complete the Vidulich deposition by July 31, 2018. Id. ¶ 9.

        On July 9, 2018, plaintiffs produced “[a]dditional screenshots and .pdfs that were not

included with any of Mr. Vidulich’s prior affidavits.” Leviss Decl. Ex. D. This production included

another version of the Channel One PDF (regarding the May 24, 2016 capture) but nothing from

May 27, 2016, and no native-format PCAP files. Leviss Decl. ¶ 6.




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       On July 13, 2018, in accordance with a Stipulated Order that the parties negotiated to

govern Infomir’s examination of the Firm Laptop (Dkt. No. 626), Stroz Friedberg sent Dunnington

a list of the Wireshark-related “search hits” it found on the Firm Laptop. See Tr. of Feb. 6, 2019

Hr’g (Hr’g Tr.) (Dkt. No. 733), at 8. The list included the full name and file path of the Channel

One PCAP: “c:\Wireshark\Channel One Capture.pcapng.” Pl. Ltr. dated Oct. 18, 2018 (Dkt. No.

686), at 2; id. Ex. A, at ECF page 2. The list also noted that this file was no longer “existent.” Id.

       M.     The Vidulich Deposition

       On August 29, 2018, Vidulich testified at deposition that the Wireshark capture described

in his affidavit occurred on May 27, 2016; that he “never did Wireshark” other than for that

investigation; that he did not “save the Wireshark capture data” except “[a]s a screen shot”; and

that he personally took the Channel One Screenshots. Vidulich Dep. Tr. (Leviss Decl. Ex. B) at

25:18-20, 28:4-19, 32:1-25, 98:13-14.

       Asked to explain his conclusion that the STB “had a connection with Infomir,” Vidulich

pointed to packet 72 on the Channel One Screenshot attached to his affidavit as Exhibit 14, which

– he said – showed that the STB was connecting to the IP address 66.234.224.2. Vidulich Dep. Tr.

at 43:9-23. “Then in the info section it says standard query, freetvstat.iptv.infomir.com.ua.” Id. at

43:17-19. Vidulich said he found that line after “capturing for maybe 30 seconds,” then pausing

the program and scrolling through the lines of code until “[he] found Infomir,” at which point he

used his “snipping tool” to create the screenshot. Id. at 44:2-11. Vidulich confirmed that packet 72

was “almost 23 seconds in” to the capture, as signified by the timestamp 22.970968. Id. at 44:15-

20. He knew that he was actually “connecting to the stream” on May 27, 2016, because “[he] was

viewing Channel One at that time.” Id. at 46:7-15; see also id. at 73:16 (“the Channel One stream


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was active”). Vidulich paused the capture for “[l]ess than five minutes” to take the snippet. Id. at

47:19-22.

       Towards the end of the deposition, Vidulich was asked whether he deleted “any of the

Wireshark information” from the Firm Laptop:

       A.      I didn't delete anything.

       Q.      Are you aware if the Wireshark capture[] data, that you described in your affidavit
               remains on the laptop computer that you used?

       A.      I don't think it's there.

       Q.      Do you know what happened to it?

       A.      It wasn’t saved.

Vidulich Dep. Tr. at 98:19-99:4; see also id. at 99:17-21 (testifying that the Wireshark data referred

to in the Vidulich Affidavit was not, to his knowledge, saved “on any computer”).

       When Infomir’s counsel asked Vidulich whether he created the Channel One XPS recently

produced by plaintiffs (and dated May 24, 2016), Vidulich said “no,” adding, “I think it was auto-

saved.” Id. at 28:20-29:1. Thereafter, when Vidulich was asked about the “source” of that Channel

One XPS, plaintiffs’ lead counsel, Raymond J. Dowd, instructed him not to answer on the ground

that the question went “way outside the scope of his declarations.” Id. at 99:5-16.10



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   During the deposition, which lasted two hours and 13 minutes, attorney Dowd instructed
Vidulich not to answer at least 29 times. See Vidulich Dep. Tr. at 4-5. Counsel refused to permit
the witness to reveal (among other things) where he got the Infomir brand STBs he used in his
investigation, whether they had been used before he used them; whether they had been altered; or
even whether the Mag 254 STB “was in a carton or packaging” when he first used it. Id. at 36:20-
23, 41:20-24, 65:17-66:12, 74:1-15, 79:2-3. In addition, counsel instructed Vidulich not to disclose
how he learned to interpret Wireshark data, id. at 10:23-11:12, whether he had ever conducted any
Wireshark investigations other than the May 27, 2016 investigation described in the Vidulich
Affidavit, id. at 26:18-28:2, or whether he did anything to determine if the information to which
he swore was accurate. Id. at 61:17-24.

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       N.    Infomir’s Request for Leave to Seek Spoliation Sanctions

       By letter dated September 14, 2018, Infomir reported – based in part on the work of Stroz

Friedberg – that the Channel One XPS and the Channel One PDF, although dated May 24, 2016,

contained data exactly “matching the network protocol analysis and investigation that Vidulich

claims to have engaged in on May 27, 2016,” as reflected in the Channel One Screenshots. Infomir

Ltr. dated Sept. 14, 2018 (Dkt. No. 657), at 3. Further, “[t]he forensic examination of the laptop

confirms that wireshark data, in native .pcap format, was at one time saved to the laptop and was

subsequently deleted before the laptop was produced for defendants’ examination.” Id. Thus,

Infomir explained, Vidulich’s testimony – that the Wireshark data he captured was never saved –

was “demonstrably false,” id.; in fact, the native-format Wireshark data “was saved, converted to

a non-native format, ‘cleansed’ by being saved to a fixed format (pdf/xps) and then deleted.” Id.

(emphasis in the original). As discussed in more detail below, all of these charges proved to be

accurate – except that the Channel One PCAP was not, in fact, permanently deleted.

       Infomir sought leave to move for spoliation sanctions up to and including dismissal:

       The intentional deletion of this critical and previously saved computer data file
       documenting the activity which plaintiffs rely upon as the foundation for their
       claims against Infomir, LLC, is the definition of spoliation of evidence. No sanction
       short of dismissal of this lawsuit can level the playing field given plaintiffs'
       intentional destruction of the foundational evidence of their lawsuit.

Infomir Ltr. dated Sept. 14, 2018, at 3.

       O.    The September 21, 2018 Vidulich Affidavit

       In a sharply-worded responding letter signed by attorney Dowd, supported by a newly-

executed affidavit from Vidulich, both dated September 21, 2018, plaintiffs claimed that the

Channel One XPS was created during an “unrelated preliminary investigation” that was conducted

on May 24, 2016, was “never filed by Broadcasters,” and was therefore “irrelevant” to the validity
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of the Vidulich Affidavit or the May 27, 2016 investigation described therein. Pl. Ltr. dated Sept.

21, 2018 (Dkt. No. 666), at 3; 6/21/18 Vidulich Aff. (Dkt. No. 666-2) ¶¶ 14-15. Plaintiffs insisted

that Vidulich conducted the “relevant” Wireshark Investigation on May 27; that he did not save

any data from that investigation, except in the form of the Channel One Screenshots; that they had

already produced “everything that was retained”; and that “[n]othing was spoliated.” Pl. Ltr. dated

Sept. 21, 2018, at 3; 9/21/18 Vidulich Aff. ¶¶ 6-7, 11. Vidulich added that, due to his lack of

technical expertise, “I did not even know how to properly save Wireshark data, let alone what the

native format of Wireshark data is.” Id. ¶ 13.

       As discussed in more detail below, all of these statements proved to be false – except, as

noted above, that the Channel One PCAP was not, in fact, permanently deleted.

       P.    The October 5, 2019 Conference

       During a conference on October 5, 2018, Infomir explained in more detail why it believed

that Vidulich saved, but then deleted, the native-format PCAP file underlying his original affidavit:

First, the upper left-hand corner of both Channel One Screenshots showed that a PCAP file named

“Channel One Capture.pcapng” was open when those screenshots were created. 10/5/18 Tr. (Dkt.

Nos. 682, 694-8) at 48:4-25. Second, “on the laptop there is a remnant of a Wireshark search in

PCAP that had been saved at one point in time and was no longer there.” Id. at 51:11-13. Moreover,

Infomir added, the Channel One XPS did not reflect a “different search on a different day,” because

the data shown in that file “lines up exactly to all the IP addresses to the millionth of a second”

with the Channel One Screenshots. Id. at 52:14-21.

       In short, Infomir believed, based on the information then available to it, that plaintiffs

conducted a single Wireshark investigation, likely on May 24, 2016, evidenced by (i) a native


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format PCAP file named “Channel One Capture.pcapng,” which was created during the original

investigation and saved to the Firm Laptop, but deleted before the laptop was turned over for

forensic analysis; (ii) the “fixed layout” Channel One XPS and Channel One PDF, also created on

May 24, 2016, but first produced more than two years later, on June 22, 2018; and (iii) the Channel

One Screenshots, which appeared to have been created three days later on May 27, 2016, and

showed only a “snippet” of the data collected by Wireshark.

       In response, attorney Dowd once again insisted that plaintiffs had turned over “[e]verything

that was saved or screen shotted.” 10/5/18 Tr. at 67:6-15. The Court then set a briefing schedule

for Infomir’s motion and otherwise stayed expert discovery pending the resolution of that motion.

10/5/18 Tr. at 80:21-25; see also Order dated Oct. 9, 2018 (Dkt. No. 679), ¶¶ 4-5.

       Q.    The Channel One PCAP and the October 12, 2018 Vidulich Affidavit

       One week later, on Friday afternoon, October 12, 2018, plaintiffs produced the Channel

One PCAP, “which consists of a .pcapng file dated May 24, 2017.” Pl. Ltr. dated Oct. 12, 2018,

Ex. 1 (Dkt. No. 686-2, at ECF page 7). That same day, plaintiffs produced yet another affidavit

from Vidulich, who attested that on June 22, 2018, in anticipation of complying with the 4/25/18

Order, he transferred the Channel One PCAP from the Firm Laptop to his desktop computer, where

it was somehow overlooked. 10/12/18 Vidulich Aff. (Dkt. No. 686-2, at ECF pages 4-5) ¶¶ 4-7.

       According to Vidulich, he first “locate[d] all data relating to [his] 2016 investigations” on

the Firm Laptop. 10/12/18 Vidulich Aff. ¶ 4. He then used a UBS flash drive to “transfer” those

files onto his desktop computer at Dunnington, so that he could “produce the files to Infomir.” Id.

¶ 5. Vidulich swore that he did not “delete” the Channel One PCAP, id. ¶ 6, but could not explain

why it “was not on the laptop” when that laptop was turned over for forensic examination. Id. ¶ 11.


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Once the PCAP file was moved to his desktop, Vidulich was not “able to open” it. 10/12/18

Vidulich Aff. ¶ 7. This was apparently why it was not produced to Infomir along with the Channel

One XPS. Indeed, according to plaintiffs’ designated Wireshark investigator, he did not know, at

the time, “that the native file format for a Wireshark capture is ‘.pcap.’” Id. ¶ 8.

          Insofar as the record discloses, Vidulich did not seek any assistance in opening the PCAP

file, nor in understanding what it was. Rather, according to Vidulich, he first learned what a PCAP

file was when he reviewed Infomir’s September 14, 2018 letter seeking leave to move for

spoliation sanctions. 10/12/18 Vidulich Aff. ¶ 8. Even that, apparently, did not prompt any renewed

efforts to retrieve the Channel One PCAP. Vidulich does not describe any such efforts until after

the October 5, 2018 court conference, when attorney Rowley asked him to review the files he had

transferred to his desktop computer. Id. ¶ 9. Plaintiffs then produced the Channel One PCAP. Id.

¶ 10.11

          Plaintiffs immediately demanded that Infomir withdraw its (not yet filed) motion for

spoliation sanctions, explaining that the “omission” of the Channel One PCAP from its productions

was “inadvertent” and complaining that Infomir “created” the “purported ‘spoliation’ issue” by

failing to conduct its forensic analysis of the Firm Laptop when first offered the opportunity to do




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   Nowhere in the 10/12/18 Vidulich Affidavit – or in any of his prior affidavits – did he
acknowledge that he had received any training or had access to any expert advice regarding the
Wireshark program. To the contrary: Vidulich repeatedly attested that he had no “specialized
technical knowledge” and had “never studied computer science, information technology, Internet
Protocol Television (‘IPTV’) or network protocol analyzers.” 10/12/18 Vidulich Aff. ¶ 2. See also
Vidulich Aff. ¶ 2; 9/21/18 Vidulich Aff. ¶ 2; id. ¶ 21 (attesting that at the time he conducted the
Wireshark Investigation, he “had less than five months of experience in the legal profession and a
grand total of zero months of experience in network protocol analysis”).

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so in April. Pl. Ltr. dated Oct. 12, 2018 (Dkt. No. 686-2), at 1. Plaintiffs also faulted Infomir for

failing to “specifically request[]” any “potentially missing .pcap files” until September. Id. at 2.

       R.     The October 19 Conference

       The production of the Channel One PCAP prompted another round of letter-motions.

Infomir asked for confirmation that the Channel One PCAP was in fact “the data viewed and relied

upon by Mr. Vidulich” during the investigation reported in his original affidavit. Infomir Ltr. dated

Oct. 16, 2018 (Dkt. No. 684), at 1.12 Plaintiffs refused to answer Infomir’s question. See Pl. Ltr.

dated Oct. 18, 2018 (Dkt. No. 686), at 1-5. Instead, plaintiffs accused Infomir of a wide range of

misconduct – including, bizarrely, obtaining an “unauthorized” expert report from Stroz Friedberg

regarding its forensic analysis of the Firm Laptop, id. at 1 – and requested that the Court compel

Infomir to turn over that report, together with “all communications with its expert,” and

“conclusively determine that there was no spoliation.” Id. at 1, 5.

       During an October 19, 2018, telephonic conference, I asked plaintiffs’ counsel the same

question that Infomir posed in its correspondence: “Mr. Blaustein, is this it?” 10/19/18 Tr. (Dkt.

No. 694-5) at 7:16. Counsel could not or would not say. “Your Honor, I can't definitely state as a

layperson, much like Mr. Vidulich is a lay witness, whether this PCAP file is it.” Id. at 7:17-20.

Counsel represented, however, that “there are no other native PCAP” files, and conceded that the




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  Infomir explained that if in fact there was only one Wireshark capture, which occurred on May
24, then Vidulich’s claim to have performed the capture on May 27 was “materially false,” not
only with respect to the date but also with respect to how he went about the investigation. Infomir
Ltr. dated Oct. 16, 2018, at 2. Alternatively, Infomir argued, “[i]f there are in fact two sets of
Wireshark data from two different dates, plaintiffs must account for the missing May 27, 2016
data.” Id. at 2-3.

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“logical inference” was that there was no Wireshark search conducted on May 27, 2016; “[t]here

was only the search conducted on May the 24th.” Id. at 17:2-18.

       Infomir sought leave to re-depose Vidulich, explaining that with the production of the

Channel One PCAP “[t]he issue now is probably not one of spoliation but is more likely one of . . .

submissions to the court that are not factually supported,” which would also warrant sanctions,

“albeit not [for] spoliation.” Id. at 18:18-19:25. I denied leave to take a second pre-motion

deposition, id. at 20:6-23, and set a new briefing schedule for Infomir’s sanctions motion. Id. at

24:12-15; see also Order dated Oct. 19, 2018 (Dkt. No. 688), ¶¶ 1-2.

II.    THE SANCTIONS MOTION

       A.      Infomir’s Moving Papers

       Infomir filed its motion on November 5, 2018, pursuant to Fed. R. Civ. P. 37(b) and the

Court’s inherent equitable powers, seeking an order “precluding plaintiffs from presenting or

utilizing in this action, in any manner, any aspect of the May 2016 investigation.” Infomir Moving

Mem. at 2. Infomir argues that plaintiffs engaged in serious and sustained discovery misconduct,

including (i) repeated violations of court orders that required the production of the Channel One

PCAP; (ii) false statements by Vidulich and by plaintiffs’ counsel; and (iii) related obstructive

conduct, such as delaying Vidulich’s deposition and instructing him not to answer unobjectionable

questions, all designed to prevent Infomir from discovering – with the assistance of the Channel

One PCAP – that key portions of the Vidulich Affidavit “are not true.” Id. at 1, 22-23.

       Infomir contends that it was deeply prejudiced by the misconduct (above and beyond the

expense incurred in uncovering the truth) because it was required to respond to the First Amended

Complaint and complete fact discovery, including depositions, without the data from which it


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could have challenged the central factual assertions on which plaintiffs’ “streaming” case was

built. Infomir Moving Mem. at 12-13, 21-22. Therefore, Infomir argues, preclusion is the

appropriate sanction, because it “expunges the tainted ‘evidence’ from the case” while preserving

“plaintiffs’ ability to develop evidence of the alleged ongoing streaming through qualified experts”

who could then be cross-examined as to their “knowledge, methodologies and conclusions.” Id. at

2. Infomir also seeks an award of its fees and other expenses incurred in uncovering the Channel

One PCAP, id. at 22, 26, but urges that monetary sanctions alone would not be sufficient to

ameliorate the prejudice it has suffered or “deter future misconduct,” particularly given that

plaintiffs’ litigation costs are underwritten by a third party, rendering plaintiffs “immune from the

normal financial incentives governing good faith litigation.” Id. at 22.

       In the accompanying Rucinski Report, Infomir demonstrates that the Channel One

Screenshots, the Channel One XPS, the Channel One PDF, and the Channel One PCAP were all

generated from a single Wireshark capture that occurred on May 24, 2016. Rucinski Rep. at 3, 4,

7, 12. Although the screenshots self-authenticate as having been taken on May 27, 2016, id. at 7,

they too reflect data gathered from the capture performed three days earlier, meaning that Vidulich

was not watching a “live” stream when he took those screenshots. Id. Thus, Vidulich’s oft-repeated

statements “about conducting a separate Wireshark investigation on May 27, 2016 to which he

attributes the Channel One Screenshots” were, in Rucinski’s words, “inconsistent with and

unsupported by the available data and evidence.” Id. Similarly, the statements by Vidulich and by

plaintiffs’ counsel after the Channel One XPS surfaced – that an “unrelated preliminary

investigation” was conducted on May 24 – were “incorrect.” Id. Moreover, if Vidulich was telling

the truth when he testified that he personally “did Wireshark” only once – on May 27 – then “he


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did not perform the May 24, 2016 Wireshark capture,” id. at 12; rather, he viewed a previously-

recorded capture conducted and saved by someone else. That someone else, Infomir suggested,

could have been “someone from Kartina with technical expertise,” who was “remotely accessing

Vidulich’s laptop computer during the May 2016 investigation process.” Id. at 17.

       Although all of the Wireshark-related ESI ultimately produced by plaintiffs relates to the

same capture, only the Channel One PCAP constitutes the “saved native data captured by the

Wireshark program,” and only the Channel One PCAP “contains all of the data that was recorded

by Wireshark as part of that capture in a format that can be fully and easily analyzed.” Rucinski

Rep. at 7, 12. Data is sent over the internet in “packets.” Id. at 1. The Channel One Screenshots

show limited information about 24 packets (out of 2087 total packets captured during the entire

May 24 investigation). Id. at 4. The Channel One XPS shows all 2087 packets, but, like the

screenshots, displays only a “subset” of the available information for each. Id. The Channel One

PCAP, however, contains “all of the data that was recorded by Wireshark,” including “the full

detail of the HTTP information in the packet” and “the actual text and video data that was received

during the Wireshark capture,” which are “not present” in any of the other ESI produced by

plaintiffs. Id. at 8-9; see also id. at 9 (only the PCAP file “contains the full payload that gets sent

or received”).

       Based on his analysis of the Channel One PCAP, Rucinski states that most of the

conclusions that Vidulich drew from the Channel One Screenshots were simply wrong. For

example, according to Rucinski, packets 72 and 73 do not show that the Infomir STB was

“communicating” with “freetvstat.iptv.infomir.com.ua,” nor that “freetvstat.iptv.infomir.com.ua”

had the IP address 66.234.244.2. Rucinski Rep. at 10. Rather, packet 72 shows a request from the


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STB to a “DNS” (Domain Name System) server at the IP address 66.234.244.2, asking for

information about “freetvstat.iptv.infomir.com.ua.” Id. Packet 73 “is the response from the DNS

Server,” which refused the request. Id. Packets 74 and 75 (not mentioned by Vidulich) show the

STB querying a different DNS server for information about “freetvstat.iptv.infomir.com.ua” and

learning that its IP address was 79.142.197.4. Id. at 10-11.

       Perhaps most importantly, “The domain ‘freetvstat.iptv.infomir.com.ua’ was not the source

of IPTV video data captured in Channel One PCAP.” Rucinski Rep. at 11. Rucinski explains:

       Less than 1% (17 of 2,078) of the packets in the Channel One PCAP are sent to or
       from, the IP address of “freetvstat.iptv.infomir.com.ua,” and less than 2% (2033
       bytes of 1779 kilobytes) of the IP data sent to the [Infomir] STB . . . in the Channel
       One PCAP originated from 79.142.197.4. There are only seven packets in Channel
       One PCAP that contain data sent from the 79.142.197.4 IP address (packets 78, 81,
       82, 287, 305, 557, and 577). I have manually inspected the full content of each of
       these packets using Wireshark; none of them contain video data.

Id. Rucinski adds that the Infomir STB was not receiving any video content, from any source, via

packet 72 – or any of the other packets referenced in the Vidulich Affidavit or shown in the

attached Channel One Screenshots. Id.

       B.      Plaintiffs’ Opposition Papers

       In their opposition papers, plaintiffs do not dispute the key conclusions drawn by Infomir’s

expert concerning the inaccuracies in the Vidulich Affidavit. To the contrary: they now concede

that Vidulich conducted the Wireshark capture described in the Vidulich Affidavit on May 24,

2016, saved that data as the Channel One PCAP, and used the Channel One PCAP three days later,

on May 27, to generate the screenshots attached to his affidavit. See Pl. Opp. Mem. dated Dec. 20,

2018 (Dkt. No. 714), at 3; Dietrich Decl. ¶¶ 7, 34-36, 73 (Vidulich’s “May 27, 2016 screenshots

were of the Wireshark capture that took place on May 24, 2016”). In his latest affidavit, filed along

with plaintiffs’ opposition brief, Vidulich himself acknowledges that “[t]he Wireshark data which
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I reference in my affidavit sworn to on June 24, 2016 (ECF 80) was captured on May 24, 2016.

On May 27, 2016, I took screenshots of the Wireshark data that I had previously captured in order

to attach it to my affidavit.” 12/20/18 Vidulich Aff. (Dkt. No. 713) ¶ 7; see also id. ¶ 13 (“The

May 27, 2016 screenshots attached to my June 2016 affidavit are true and accurate recordings of

the data collected on May 24, 2016.”).

       Plaintiffs’ opposition papers also answer some of the questions that attorney Dowd refused

to permit Vidulich to answer at deposition. For example, Vidulich discloses that he was taught

how to use Wireshark by “Dmitri Dietrich, Chief Technology Officer of Kartina Digital GmbH.”

12/20/18 Vidulich Aff. ¶ 5. Both Vidulich and Dietrich state that Dietrich and his “technical

support team” at Kartina conducted an instructional session with Vidulich on May 19, 2016, via

Skype and a program called TeamViewer, which allows the instructor to take remote control of

the pupil’s computer. Dietrich Decl. ¶ 78; 12/20/18 Vidulich Aff. ¶ 5. During that session, Dietrich

taught Vidulich “how to capture data transfers of an STB and how to interpret and analyze such

transfers.” Dietrich Decl. ¶ 78. Dietrich also “guided Mr. Vidulich on how to configure the

hardware” for the Wireshark Investigation. Id. ¶ 21.13

       Plaintiffs do not explain why they so persistently insisted – in Vidulich’s case, under oath

– that he conducted the capture and took the screenshots on the same day, May 27, 2016; that “the

Channel One Stream was active” when he viewed it on May 27; that he did not save any of the

data he captured, other than in screenshot form; and that did not even know how to do so. Nor do




13
   Vidulich denies, however, that his computer was remote-controlled by Kartina when he
performed the Wireshark capture on May 24, 2016. 12/20/18 Vidulich Aff. ¶¶ 11-12.

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plaintiffs explain why counsel and investigator alike claimed, falsely, that the Channel One XPS

reflected an “unrelated preliminary investigation” that was “irrelevant” to the Vidulich Affidavit.

       With regard to “freetvstat.iptv.infomir.com.ua,” Dietrich states only that “the presence of

‘Infomir’ in the domain name indicates that this domain belongs or is related to Infomir.” Dietrich

Decl. ¶ 39. He makes no effort to substantiate any of Vidulich’s other statements about that domain

or its alleged role in streaming video to the STB. Thus, Dietrich does not defend Vidulich’s

assumption that the STB “connected” to “freetvstat.iptv.infomir.com.ua” at packets 72 and 73, his

assertion that the IP address for “freetvstat.iptv.infomir.com.ua” was 66.234.244.2, which was

“located within the United States,” or his conclusion that “freetvstat.iptv.infomir.com.ua” was the

source of the IPTV video data captured in the Channel One PCAP. Similarly, Dietrich does not

contest Rucinski’s explanation that no video data (from any source) was transmitted at packets 72-

73 – or any of the other packets shown on the Channel One Screenshots.

       Instead, Dietrich explains that a different portion of the Wireshark capture – specifically,

packet 376, at timestamp 42.529523, which was never reviewed by Vidulich and is not shown in

the Channel One Screenshots – reveals, through the “deeper explanatory power” of the Channel

One PCAP, that the streaming video was coming from “streamer2de.allfreetv.net,” with the IP

address 37.58.59.43. Dietrich Decl. ¶¶ 56-62 & Ex. 6. Dietrich goes on to assert, based on a

“domain block search” performed on a third-party website,14 that the domain “allfreetv.net” is

“controlled by Infomir’s servers.” Id. ¶¶ 63-66 & Ex. 10. Dietrich therefore concludes (based on

information not available until the Channel One PCAP was produced) that the Infomir STB was


14
  Dietrich states that he consulted the website “ipv4info.com,” which revealed that “allfreetv.net”
was “listed in Infomir’s domain block search.” Dietrich Decl. ¶ 66 & Ex. 10. Dietrich does not
further describe or credential “ipv4info.com.”

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in fact “receiving video steaming . . . directly from Infomir’s servers on May 24, 2016,” id. ¶ 67,

albeit at a different time, via a different packet, and from a different domain, with a different IP

address, than the time, packet, domain, and IP address described in the Vidulich Affidavit. In

addition, Dietrich asserts that certain other portions of the Vidulich Affidavit were not inaccurate.15

       In their opposition brief and accompanying affidavits, plaintiffs contend that no sanctions

are warranted because Infomir failed to comply with Local Civil Rule 37.1, Pl. Opp. Mem. at 1,

15; because none of this Court’s orders “specifically discussed” or required production of “a

PCAP,” id. at 1, 2, 10, 17; because their failure to produce the Channel One PCAP in response to

those orders was “inadvertent,” id. at 2, 3, 4; because they “promptly” searched for and

“immediately” produced the PCAP file once Infomir “specifically requested” it in September

2018, id. at 1, 12, 18, 19, 20, 21; and because they “fully obeyed the letter and spirit of the Court’s

Orders” by offering Infomir the opportunity to inspect the Firm Laptop. Id. at 2 (emphasis in the

original), 3-4, 17, 18; see also Blaustein Decl. (Dkt. No. 711) ¶¶ 4-5, 8, 22, 31, 33-34, 39, 51, 53-

54. Plaintiffs add that the delay in producing the Channel One PCAP was “harmless” because it

was “produced in advance of expert discovery.” Pl. Opp. Mem. at 4.

       C.       Infomir’s Reply Papers

       In reply, Infomir’s expert disputes Dietrich’s contention that any portion of the PCAP file

shows streaming video coming from an Infomir-controlled domain. See Rucinski Supp. Rep. (Dkt.




15
   For example, according to Dietrich, Vidulich correctly observed the STB “had data transfers
with Infomir’s Stalker Middleware.” Id. ¶ 38. However, Dietrich does not assert that the STB
received video content from the Stalker portal during those data transfers.

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No. 719-1) at 8-12.16 He also points out that – right or wrong – Dietrich’s analysis of packet 376

“could not have been developed” without access to the full Channel One PCAP. Id. at 6.

       In addition, Rucinski asserts that when the Channel One PCAP was saved to the Firm

Laptop on May 24, 2016, it must have been “manually saved,” Rucinski Supp. Rep. 5, because its

filename was “Channel One Capture.pcapng” rather than the generic sequence of letters and

numbers that the Wireshark program would have generated had the file been autosaved. Id. 6.

       D.      The February 6, 2019 Hearing

       On February 6, 2019, the Court held an evidentiary hearing. Before the first witness was

called, plaintiffs’ lead counsel asserted that while his firm had made “a couple of mistakes,” they

were “inadvertent” rather than “disobedient.” Hr’g Tr. at 5-7. According to attorney Dowd, no one

at Dunnington knew what a PCAP file was, understood that Infomir expected a PCAP file to be

produced, or recognized the significance of the missing “.pcapng” file on the Firm Laptop until

months later, in October 2018, when “[w]e found it in the desktop.” Id. at 6-10.

       When the parties’ respective expert witnesses were called to the stand, they agreed about

most of the technical issues relevant to Infomir’s motion. For example, they agreed that the

Channel One PCAP was the only complete record of the May 24, 2016 Wireshark capture, see

Hr’g Tr. at 16, 25-26, 81 (Rucinski), 117-18 (Dietrich), and the only file from which the actual




16
   Rucinski argues that Dietrich’s methodology for tying “streamer2de.allfreetv.net” at the IP
address 37.58.59.43 to “Infomir’s servers” was “unreliable,” because, among other things, the
domain block search he performed relied upon the IP address 79.142,197,62, which was “not the
origin of the video streaming captured in the Channel One PCAP” and “does not appear in the
Channel One PCAP at all.” Rucinski Supp. Rep. at 7-8. Moreover, “domains can change
ownership over time.” Id. at 9. Thus, the information that Dietrich looked up in December 2018
could not establish “the ownership of this domain two and a half years earlier” in May 2016. Id.

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video payload could be extracted and played. See id. at 23, 64, 82 (Rucinski), 111-12 (Dietrich).17

They also agreed that the Channel One PCAP was manually saved onto the Firm Laptop. See id.

at 30 (Rucinski), 120-22 (Dietrich). Indeed, Dietrich testified affirmatively that it was Vidulich

who saved the Channel One PCAP – explaining that when a user exits the Wireshark program it

“ask[s] you if you want to save this stream or . . . cancel it.” Id. at 121-22. Moreover, both experts

testified, without hesitation, that packets 72 and 73 represented a failed DNS query – not a video

transmission – and that “freetvstat.infomir.com.ua” was not the source of any of the video content

that Vidulich viewed through the Channel One PCAP. Id. at 45, 65 (Rucinski), 114-17 (Dietrich).

       On direct examination, Dietrich reconfirmed that the source of the streaming video viewed

by   Vidulich,    which    begins   at   packet    376    of   the   Channel    One    PCAP,     was

“streamer2de.allfreetv.net,” at the IP address 37.58.59.43. Hr’g Tr. at 87-93. He then made another

effort to explain – based in part on research he had recently conducted on third-party websites18 –

why he believed that “allfreetv.net” was associated with or controlled by defendant Infomir. Id. at

97-105. The purpose of this testimony, according to plaintiffs’ counsel, was to show that Infomir

could have arrived at the same conclusion based on the Channel One XPS, and therefore was not

prejudiced by not having the Channel One PCAP. Hr’g Tr. at 88, 100.19



17
  At the request of attorney Dowd, during cross-examination, Rucinski demonstrated this point
by playing that video content for the Court from the Channel One PCAP. Hr’g Tr. at 60-61.
18
   Dietrich used “ripe.net” which he described as “an organization that is responsible for the
distribution of IP address in Europe,” Hr’g Tr. at 96, and “domaintools.com,” which is “a very
powerful tool which allows us to find an owner of the domain.” Id. at 99.
19
   The Channel One XPS was first produced on June 22, 2018 – more than two years after plaintiffs
filed the Vidulich Affidavit. Moreover, as noted above, plaintiffs insisted until October 5, 2018,
that the Channel One XPS was created during an “unrelated preliminary investigation” and was
“irrelevant” to the accuracy of the Vidulich Affidavit.

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       On cross-examination, Dietrich was asked whether he ever told Dunnington that the

Vidulich Affidavit was inaccurate. He replied:

       A.      I will correct him, yes.

       Q.      When will you do that?

       A.      If I would see the affidavit, I will correct him about how the set top box
               communicate[s] with the server and where the video is coming from.

       Q.      You will do that?

       A.      Yes, I will.

Id. at 114-15. Dietrich explained that he first saw the Vidulich Affidavit two or three years after it

was filed, “probably in January, a couple of months ago.” Id. at 113, 115. Before that, although he

was “in communication” with plaintiffs’ attorneys, they spoke about “other issues.” Id. at 115.20

III.   LEGAL STANDARDS

       A magistrate judge has broad authority to impose discovery sanctions. Orders imposing

such sanctions “are ordinarily considered non-dispositive, and therefore fall within the grant of

[Fed. R. Civ. P.] 72(a), ‘unless the sanction employed disposes of a claim.’” Joint Stock Co.



20
   On cross-examination, Dietrich testified that he was “connected” to Vidulich’s computer via
Skype and TeamViewer on May 24, 2016 – the day the Wireshark capture was performed – and
that he “explained to [Vidulich] how to start Wireshark.” Hr’g Tr. at 118. Attorney Dowd then
conducted a brief redirect examination devoted entirely to other issues. Id. at 118-20. Seeking
clarification on the TeamViewer issue, the Court asked again when Dietrich was “having this
Skype and TeamViewer session.” Id. at 121. Dietrich replied, “[o]n the 24th of May,” meaning
that he was “present in Mr. Vidulich’s computer when that PCAP was created.” Id. At that point,
attorney Dowd sought leave to recall Dietrich and “treat the witness as hostile.” Id. at 124. Counsel
explained that Dietrich must have been confused, because his testimony was inconsistent with his
expert declaration – which stated that that the Skype/TeamViewer session occurred on May 19,
not May 24, 2016 – and with certain related documentary evidence. Id.; see also id. at 125 (Dowd,
arguing that he should be permitted “to clean up what is damaging testimony from friendly fire”).
I denied the motion. Id. at 128-29. As discussed in more detail below, however, I do not rely upon
that portion of Dietrich’s testimony in this Opinion and Order.

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Channel One Russia Worldwide v. Infomir LLC, 2017 WL 3671036, at *16 (S.D.N.Y. July 18,

2017) (quoting Seena Int’l Inc. v. One Step Up, Ltd., 2016 WL 2865350, at *10 (S.D.N.Y. May

11, 2016)). This rule extends to orders precluding the introduction of specified evidence, which

are “properly characterized as non-dispositive . . . [a]s long as the order does not wholly dispose

of a party’s claim or defense.” Seena Int’l Inc., 2016 WL 2865350, at *10 (citing, inter alia, Update

Art, Inc. v. Modiin Publ’g, Ltd., 843 F.2d 67, 71 (2d Cir. 1988)).

       A.      Rule 37(b)

       Where, as here, sanctions are sought because a party has “fail[ed] to obey an order to

provide or permit discovery,” but no ESI has been “lost,” the motion is ordinarily analyzed under

Fed. R. Civ. P. 37(b)(2)(A), which permits the court to “issue further just orders,” including:

       (i)     directing that the matters embraced in the order or other designated facts be
               taken as established for purposes of the action, as the prevailing party
               claims;

       (ii)    prohibiting the disobedient party from supporting or opposing designated
               claims or defenses, or from introducing designated matters in evidence;

       (iii)   striking pleadings in whole or in part;

       (iv)    staying further proceedings until the order is obeyed;

       (v)     dismissing the action or proceeding in whole or in part;

       (vi)    rendering a default judgment against the disobedient party; or

       (vii)   treating as contempt of court the failure to obey any order except an order
               to submit to a physical or mental examination.

In addition, the court must order the disobedient party to pay the “reasonable expenses, including

attorney’s fees” incurred by the moving party, “unless the failure was substantially justified or

other circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C).



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       The only predicates to the imposition of sanctions under Rule 37(b) are a “court order

directing compliance with discovery requests” and “non-compliance with that order.” Shanghai

Weiyi Int’l Trade Co. v. Focus 2000 Corp., 2017 WL 2840279, at *9 (S.D.N.Y. June 27, 2017).

Rule 37(b) applies “notwithstanding a lack of willfulness or bad faith,” although such factors may

be “relevant . . . to the sanction to be imposed for the failure.” Oz v. Lorowitz, 2011 WL 803077,

at *2 (S.D.N.Y. Mar. 7, 2011) (quoting Auscape Int’l v. Nat’l Geographic Soc’y, 2003 WL 134989

at *4 (S.D.N.Y. Jan. 17, 2003)). Where, as here, ESI is “untimely produced,” a showing of

“ordinary negligence will satisfy the state-of-mind requirement” under Rule 37(b). Kortright

Capital Partners LP v. Investcorp Inv. Advisers Ltd., 330 F.R.D. 134, 138 (S.D.N.Y. 2019) (citing

Residential Funding Corp. v. DeGeorge Fin. Corp., 306 F.3d 99, 113 (2d Cir. 2002)); accord In

re Sept. 11th Liab. Ins. Coverage Cases, 243 F.R.D. 114, 125 (S.D.N.Y. 2007).

       Similarly, although prejudice to the moving party “may be a significant consideration” in

selecting the appropriate remedy, it is not a “prerequisite” to the imposition of Rule 37(b)

sanctions. Royal Park Invs. SA/NV v. U.S. Bank Nat’l Ass’n, 319 F.R.D. 122, 126 (S.D.N.Y. 2016);

see also Valentini v. Citicorp Fin. Servs. Corp., 589 F. App’x 1, 2 n.3 (2d Cir. 2014) (“an

imposition of discovery sanctions requires neither a finding of bad faith nor a finding of

prejudice.”); S. New England Tel. Co. v. Glob. NAPs Inc., 624 F.3d 123, 148-49 (2d Cir. 2010)

(“[W]e, along with the Supreme Court, have consistently rejected the ‘no harm, no foul’ standard

for evaluating discovery sanctions.”).21


21
   Rule 37(e), which governs sanctions for the spoliation of ESI, requires a “finding of prejudice
to another party from loss of the information.” Fed. R. Civ. P. 37(e)(1). In addition, certain severe
sanctions, including dismissals and default judgments, require a “finding that the [spoliating] party
acted with the intent to deprive another party of the information’s use in the litigation.” Fed. R.
Civ. P. 37(e)(2). However, as Judge Pauley explained in Kortright, “Rule 37(e) applies only when
                                                 37
       B.      Inherent Authority

       “Even in the absence of a discovery order, a court may impose sanctions on a party for

misconduct in discovery under its inherent power to manage its own affairs.” Residential Funding

Corp., 306 F.3d at 106-07. Courts frequently rely on their inherent power to sanction a party or

attorney who “has made a false statement to the court and has done so in bad faith,” S.E.C. v.

Smith, 710 F.3d 87, 97 (2d Cir. 2013), including false statements about discovery compliance. For

example, in Metro. Opera Ass’n, Inc. v. Local 100, Hotel Emps. & Rest. Emps. Int’l Union, 212

F.R.D. 178 (S.D.N.Y. 2003), adhered to on reconsideration, 2004 WL 1943099 (S.D.N.Y. Aug.

27, 2004), Judge Preska entered an adverse liability judgment, as well as monetary sanctions,

where defendants made a series of false statements about “simple but material matters,” including

“falsely denying [the] existence” of certain documents called for by plaintiff’s discovery requests,

id. at 225, and where their attorneys responded to the Met’s complaints of inadequate production

with “continuing representations of full compliance” that were “so lacking in a reasonable basis as

to rise to the level of bad faith.” Id. at 224. See also DeCastro v. Kavadia, 309 F.R.D. 167, 184-85

(S.D.N.Y. 2015) (sanctioning attorney who “made multiple incomplete or misleading submissions




ESI ‘that should have been preserved’ is ‘lost because a party failed to take reasonable steps to
preserve it, and it cannot be restored or replaced through additional discovery.’” 330 F.R.D. at 138
(quoting Fed. R. Civ. P. 37(e)). As plaintiffs acknowledge, Infomir’s motion “contains no
allegation that evidence was destroyed.” Pl. Opp. Mem. at 3; see also Infomir Reply Mem. dated
Jan. 10, 2019 (Dkt. No. 718), at 12 (“Rule 37(e) does not apply, because the PCAP was not lost or
spoliated”). Where, as here, the evidence at issue was “not lost, but merely untimely produced,”
the motion is governed by Rule 37(b) and “a showing of ordinary negligence will satisfy the state-
of-mind requirement.” Kortright, 330 F.R.D. at 138 (striking portions of trial testimony concerning
an investment committee meeting, and imposing monetary sanctions, where defendant failed to
timely produce the minutes of the meeting).

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to this Court” about his client’s discovery compliance, and then failed to correct them, “even after

the inconsistencies and apparent errors in his submissions were drawn to his attention”).

IV.    DISCUSSION

       A.     Plaintiffs’ Procedural Arguments Fail

       Plaintiffs contend that Infomir’s motion is procedurally deficient under Local Civil Rule

37.1, because it did not “specify and quote or set forth verbatim in the motion papers each

discovery request and response to which the motion or application is addressed.” Pl. Opp. Mem.

at 15. To quote the rule, however, is to demonstrate its inapplicability here. Infomir is not moving

to compel or for a protective order; consequently, the motion is not “addressed” to the parties’

original “discovery request[s] and response[s].” Rather, Infomir asserts that plaintiffs have violated

a series of discovery orders that were previously issued by this Court. Those orders are adequately

identified in Infomir’s papers. See Infomir Moving Mem. at 5, 6, 7.

       Plaintiffs’ related claim – that their “due process rights” were violated because Infomir

“promise[d]” to seek spoliation sanctions pursuant to Rule 37(e) but instead sought sanctions for

failure to comply with prior discovery orders pursuant to Rule 37(b), see Pl. Opp. Mem. at 3, 15 –

is equally meritless. Plaintiffs can hardly complain that Infomir dropped its spoliation allegations

– as plaintiffs demanded – after the Channel One PCAP surfaced. Nor can they blame Infomir for

the “moving target” that they themselves presented by repeatedly denying that they saved any

Wireshark data, only to admit, months later, that such data existed but was “misplaced.” Pl. Opp.

Mem. at 20. Infomir’s moving papers gave plaintiffs clear “notice of the sanctionable conduct,”

Mitchell v. Lyons Prof’l Servs., Inc., 708 F.3d 463, 467 (2d Cir. 2013), and this Court gave them




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ample “opportunity to be heard,” id., both in writing and at the February 6, 2019 hearing. Plaintiffs

therefore have no grounds to complain about the “procedural safeguards afforded.” Id. 22

       B.     Plaintiffs Should Have Produced the Channel One PCAP Without Waiting for
              a Court Order

       Rule 26(a)(1) requires that each party, “without awaiting a discovery request,” provide

each other party with certain automatic disclosures, including “a copy – or a description by

category and location – of all documents, electronically stored information, and tangible things

that the disclosing party has in its possession, custody, or control and may use to support its claims

or defenses, unless the use would be solely for impeachment.” Fed. R. Civ. P. 26(a)(1)(A)(ii). Rule

26(e) requires the disclosing party to supplement any “incomplete” disclosure in a timely manner.

Fed. R. Civ. P. 26(e)(1)(A). The Channel One PCAP falls within the ambit of the automatic

disclosure rules because it is the best evidence of the investigation described in the Vidulich

Affidavit, which plaintiffs attach to their First Amended Complaint and rely on to “detail[]

Defendant Infomir’s unlawful conduct.” FAC ¶ 197. Thus, plaintiffs violated Rule 26(a)(1)(A) by

failing to produce the Channel One PCAP with their initial disclosures on May 3, 2017, or as soon

thereafter as they recognized that those initial disclosures were incomplete.




22
   Plaintiffs devote a substantial portion of their brief to the argument that they cannot be liable for
sanctions pursuant to Rule 37(e) because “the PCAP was not destroyed,” but merely “misplaced.”
Pl. Opp. Mem. at 20 (emphasis in the original); see also Blaustein Dec. ¶¶ 8, 56, 58. However, as
noted above, Infomir’s motion does not accuse plaintiffs of spoliation, and does not seek sanctions
under Rule 37(e) – a point that plaintiffs acknowledge elsewhere in their brief, see Pl. Opp. Mem.
at 3, and that Infomir reiterates in its reply brief. See Infomir Reply Mem. at 12. Thus, Infomir did
not misdirect plaintiffs in any way as to the authority on which they rely or the grounds for the
sanctions they seek.


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       Plaintiffs argue that they had no obligation to produce the ESI underlying the Vidulich

Affidavit because it “does not profess to be an expert report, nor relies on a PCAP file.” Pl. Opp.

Mem. at 6. Plaintiffs are doubly wrong. First, the Vidulich Affidavit very much “relies” on the

PCAP file. The attached screenshots show that the Channel One PCAP was open when they were

made. That is because – as all parties now agree – Vidulich was viewing the Channel One PCAP

(not the “active” stream captured three days earlier) when he made those screenshots, each of

which is, essentially, a still picture of a very small portion of the Channel One PCAP.

       Second, plaintiffs’ obligations under Rule 26(a)(1)(A)(ii) are not measured by what they

chose to attach to the Vidulich Affidavit. The rule requires early disclosure of all documents,

including ESI, that a party “may use to support its claims or defenses.” In the FAC, and in both of

their summary judgment motions, plaintiffs implicitly asserted that the Channel One PCAP –

specifically, packets 72 and 73 – shows that Infomir was unlawfully streaming a pirated version

of their programming over the Internet. More recently, in the Dietrich Declaration and at the

sanctions hearing, plaintiffs expressly asserted that a different portion of the Channel One PCAP

– specifically, packet 376 (which was not discussed by Vidulich and not shown in the Channel

One Screenshots) – supports the same claim. Indeed, according to attorney Dowd, “the PCAP file

is really one of the best pieces of evidence in our case.” Hr’g Tr. at 6. If so, it should have been

produced pursuant to Rule 26(a)(1)(A)(ii).

       Even assuming, arguendo, that plaintiffs had so little understanding of the Channel One

PCAP in May 2017 that they did not then realize it could support their claims, they should have

produced it in response to Infomir’s initial document demands, which requested “[a]ny and all

documents relating to any inspection, test or examination of any device alleged to be originating


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from or the responsibility of Infomir.” Infomir Ltr. dated Feb. 6, 2018, Ex. A (Dkt. No. 516-1), at

23 (Doc. Req. No. 56). On June 7, 2017, in response to that request, plaintiffs agreed to “produce

non-privileged responsive documents to the extent they exist.” Id. at 24. Having so responded,

plaintiffs were required to produce – or log as privileged – all responsive documents. See Fed. R.

Civ. P. 34(b)(2)(C), advisory committee note to 2015 amendment (“an objection to a Rule 34

request must state whether anything is being withheld on the basis of the objection”).

       The Channel One PCAP was a “non-privileged responsive document.” The ESI underlying

the Wireshark Investigation lost any work-product protection it originally enjoyed when plaintiffs

filed the Vidulich Affidavit. See United States v. Nobles, 422 U.S. 225, 239-40 (1975)

(“Respondent, by electing to present the investigator as a witness, waived the privilege with respect

to matters covered in his testimony.”) The same is true for the Channel One XPS. Consequently,

plaintiffs should have produced both the PCAP file and the XPS file in June 2017. They did not.

Nor did they log them as privileged – which at least would have alerted Infomir to their existence

and permitted it to seek judicial assistance in obtaining them. Instead, in violation of Rule 34(b),

plaintiffs ignored the responsive documents entirely.

       It is perhaps worth noting here – before reaching the even more pointed language contained

in the Court’s later discovery orders – that plaintiffs cannot excuse their discovery failures on the

ground that Infomir did not request “a .pcap specifically.” Blaustein Decl. ¶ 16; see also Pl. Opp.

Mem. at 9 (“As discovery progressed, Infomir . . . refused to identify any specific evidence,

including ESI and to be clear, the PCAP, that it claimed Broadcasters did not produce as

required.”). When asked for letters or memoranda, a party cannot withhold documents stored as

Microsoft Word files because the requesting party failed to ask for “a .docx specifically.”


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Similarly, when asked for communications, a party cannot withhold Outlook email files on the

ground that the requesting party failed to asked for “a .pst specifically.” See Star Direct Telecom,

Inc. v. Glob. Crossing Bandwidth, Inc., 272 F.R.D. 350, 359 (W.D.N.Y. 2011) (rejecting

defendant’s contention “that it was not required to produce emails because plaintiffs’ document

requests did not specify the form in which the electronically stored information was to be

produced”); Fed. R. Civ. P. 34(a)(1)(A) (Rule 34 requests reach ESI “stored in any medium from

which information can be obtained”). By the same token, when asked for documents underlying

an investigation conducted in Wireshark, a party cannot withhold ESI stored in Wireshark’s native

format23 because the requesting party failed to ask for “a .pcap specifically.”

       The motion now before the Court does not seek sanctions under Rule 37(c) for plaintiffs’

initial failure to produce the Chanel One PCAP in 2017. Nor, of course, does it seek another Rule

37(a) order compelling disclosure of that file. Rather, Infomir requests a Rule 37(b) order

sanctioning plaintiffs for violating Rule 37(a) orders issued in 2018. However, when deciding a

Rule 37(b) motion, “[t]he district court is free to consider ‘the full record in the case in order to

select the appropriate sanction.’” S. New England Tel. Co., 624 F.3d at 144 (quoting Nieves v. City

of New York, 208 F.R.D. 531, 535 (S.D.N.Y. 2002)). Consequently, in determining the degree of

plaintiffs’ fault and selecting appropriate sanctions, I need not ignore the fact that their obligation

to produce the PCAP file arose well before I issued the orders at issue on the instant motion.




23
  The parties are agreed that “the native file format for a Wireshark capture is ‘.pcap.’” 10/12/18
Vidulich Aff. ¶ 8; see also Pl. Opp. Mem. at 12; Blaustein Decl. ¶ 53; Rucinski Rep. at 9, 12.

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       C.    Plaintiffs Violated Two Court Orders

       Infomir claims that plaintiffs’ failure to turn over the Channel One PCAP violated three

separate discovery orders: the 2/13/18 Order, the 4/25/18 Order, and the 7/3/18 Order. Plaintiffs

counter that “those orders do not specifically compel the production of a PCAP, which . . . Infomir

did not request until September of 2018.” Pl. Opp. Mem. at 1. Plaintiffs are correct that the 2/13/18

Order did not require them to produce the Channel One PCAP. However, the 4/25/18 Order and

the 7/3/18 Order did. Moreover, they did so in terms that were abundantly clear for attorneys of

ordinary intelligence and minimal technological competence.

               1.      The 2/13/18 Order

       As noted above, the Channel One PCAP was responsive to Infomir’s document request

No. 56, seeking “[a]ny and all documents relating to any inspection, test or examination of any

device alleged to be originating from or the responsibility of Infomir.” However, at the February

9, 2018 discovery conference, when Infomir asked for an order compelling plaintiffs to supplement

their response to No. 56, it expressly limited the scope of the proposed order to inspections, tests,

or examinations conducted by “plaintiffs, not their attorneys.” 2/9/18 Conf. Tr. at 121:15-19.

Consequently, I directed plaintiffs, on the record, to provide a supplemental response to No. 56

“with respect to any hardware testing conducted not by counsel or by an expert under counsel’s

direction but by the client.” Id. at 121:21-24. The 2/13/18 Order, which instructed plaintiffs to

supplement their response to No. 56 “as directed on the record at the February 9 discovery

conference,” id. ¶ 7, incorporated the same limits. Since the Wireshark Investigation was

conducted by Dunnington, rather than by plaintiffs themselves (which Infomir knew during the

February 9 conference), I cannot conclude that the 2/13/18 Order, read fairly, required plaintiffs

to produce the Channel One PCAP.
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                2.      The 4/25/18 Order

        The 4/25/18 Order, by way of contrast, expressly required plaintiffs to produce:

        any additional documents in their possession, custody, or control (beyond those
        attached as exhibits to the witness’s various declarations) constituting or recording
        the information and data that Vidulich acquired as a result of his investigatory
        activities.

        This order arose after plaintiffs filed their second summary judgment motion, which relied

on the Vidulich Affidavit to establish the “undisputed fact” that “[t]he video stream of Channel

One Programming originated from the domain freetvstat.iptv.infomir.com.ua.” Pl. Rule 56.1 St.

dated March 23, 2018 (Dkt. No. 551), ¶ 146; see also Pl. Mem. dated March 23, 2018, at 6

(plaintiffs “tracked U.S. video streams of pirated Channel One programming viewed on Infomir

STBs to an Infomir affiliated server, freetvstat.iptv.infomir.com.ua, located in Ukraine”). Given

the significance of these factual assertions to plaintiffs’ motion, Infomir noticed the Vidulich

deposition and sought additional ESI, arguing that plaintiffs should be required to disclose

“complete” information regarding the Wireshark Investigation, including “the electronically stored

data from the ‘network protocol analyzer’ referenced in Mr. Vidulich’s affidavits.” Joint Ltr. dated

Apr. 16, 2018, at 4; see also 4/19/2018 Conf. Tr. at 97:2-5 (asking for the “data file that was

generated when Mr. Vidulich used what you call a network analyzing program”); id. at 97:7-10

(“we’re entitled to see the full data file”); id. at 98:3-4 (“[w]e want to see the full data set”).

        Plaintiffs opposed the request – arguing that previously undisclosed Wireshark ESI was

subject to the work product doctrine, see Joint Ltr. dated Apr. 16, 2018, at 5 – but never suggested

that they did not understand the request, nor that they could not extract the requested files. To the

contrary: attorney Blaustein assured the Court that Dunnington had “an in house computer person,




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a network specialist,” whom he would “ask about identifying the specific data” or, if necessary,

Dunnington would “go to an outside source.” 4/19/2018 Conf. Tr. at 99:20-22, 100:6-9.

       It is true, as plaintiffs point out, that the 4/25/18 Order did not use the word “PCAP.” See

Pl. Opp. Mem. at 1, 2, 3, 10, 17, 18; Blaustein Decl. ¶ 34. It did not have to. The Court directed

plaintiffs to produce all remaining documents “constituting or recording the information and data

that Vidulich acquired as a result of his investigatory activities.” 4/25/18 Order at 5. There can be

no genuine dispute but that the Channel One PCAP falls squarely within that mandate. Nor can

Dunnington credibly contend – particularly in light of the discussion at the April 19 conference –

that it did not understand that the 4/25/18 Order required the production of the “full data file”

generated by the Wireshark Investigation. See 4/19/2018 Conf. Tr. at 97:7-10.

       The Court accepts that Wireshark is less familiar to the general public (and most lawyers)

than commonly-used word processing and email programs. But it was Dunnington’s choice to use

Wireshark to gather evidence concerning Infomir’s alleged streaming activities. It was therefore

Dunnington’s responsibility – not Infomir’s or the Court’s – to understand the technology well

enough to know where and how to preserve, locate, and produce discoverable ESI created by or

saved within that program. See N.Y. Rules of Prof’l Conduct, R. 1.1 (“Competence”), cmt. 8 (“To

maintain the requisite knowledge and skill, a lawyer should . . . keep abreast of the benefits and

risks associated with technology the lawyer uses to provide services to clients or to store or transmit

confidential information”). New York lawyers are “not required to stay current with every new

app and every new form of technology – that would be impossible.” 1 Roy D. Simon & Nicole

Hyland, Simon’s New York Rules of Professional Conduct Annotated § 1.1:9 (2019). But they

“must understand” the technology that they “actually use[ ],” and “keep up with changes in that


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technology.” Id. Dunnington “actually used” Wireshark. Moreover, the firm had a “network

specialist” in house, 4/19/2018 Conf. Tr. at 99:20-22, and access to “an outside source,” id. at

100:6-9, later identified as the Chief Technology Officer of Kartina, who tutored Vidulich in the

use of the Wireshark program. 12/20/18 Vidulich Aff. ¶ 5. On these facts, plaintiffs cannot excuse

their failure to produce the Channel One PCAP by complaining that the 4/25/18 Order failed to

provide its file extension.

       Plaintiffs’ alternative argument – that they “fully complied” with the 4/25/18 Order by

offering the Firm Laptop to Infomir for inspection, see Pl. Opp. Mem. at 2, 3, 4, 18; Blaustein

Decl. ¶¶ 4, 8 – fares no better.24 It is well-settled that a producing party cannot unilaterally shift

the burden and expense of complying with its discovery obligations to its opponent by “simply

dumping large quantities of unrequested materials onto the discovering party along with the items

actually sought.” 8B Charles Alan Wright & Authur R. Miller, Federal Practice and Procedure

§ 2213, at 189-90 (3d ed. 2010); see also Novak v. Yale Univ., 2015 WL 7313855, at *3 (D. Conn.

Nov. 20, 2015) (sanctioning plaintiff pursuant to Rule 37(b) for responding to an earlier discovery

order with “a ‘document dump,’ which largely left defendant with a mass of unmanageable and

unusable documents”); Levene v. City of New York, 1999 WL 397482, at *3 (S.D.N.Y. June 15,

1999) (dismissing case pursuant to Rule 37(b) where plaintiff responded to the court’s discovery

orders by “dump[ing] on defendants over 10,000 pages of documents,” most of which were not

responsive to those orders), aff’d, 216 F.3d 1072 (2d Cir. 2000). Such tactics improperly shift the




24
  Plaintiffs assert that when they first offered the Firm Laptop for inspection it was “pristine,” Pl.
Opp. Mem. at 3, 18, presumably meaning that Vidulich had not yet removed the Channel One
PCAP from that laptop.

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cost of compliance from the recalcitrant party – whose conduct necessitated the order – to the party

for whose benefit it was issued.

       In this case, the ESI that I ordered plaintiffs to produce was created, saved, and stored by

their own counsel, using a sophisticated software program of counsel’s choosing. Moreover, that

ESI resided on a Dunnington laptop, which, according to attorney Blaustein, “was used for more

than just this purpose” and contained “an internal drive that presumably has client information for

every client that we serve.” 4/19/18 Conf. Tr. at 99:5-15. Plaintiffs’ offer to “dump” the laptop on

Infomir – which, as they knew, would require its opponent to “pay for a forensic evaluation,”

Blaustein Decl. ¶ 59 – was not an acceptable substitute for locating, copying, and turning over the

Wireshark data contained on that laptop, which is what this Court directed them to do.25

       These harms are not merely theoretical. When Infomir ultimately agreed to examine the

Firm Laptop, it was required to retain its own computer experts, likely at considerable expense.

Additionally, the presence of so much irrelevant (and potentially privileged) information on the

laptop required Infomir to agree to a complex procedure to ensure that it did not inadvertently gain




25
   In their motion papers, plaintiffs were indignant that Infomir balked, for a time, at being asked
to shoulder the burden and expense of the forensic exam. See Blaustein Decl. ¶¶ 4, 8, 33, 59
(complaining that Infomir “insisted” or “demanded” that Dunnington do the work to locate and
produce any relevant ESI on the Firm Laptop). Plaintiffs seem to have lost sight of the fact that
this was, in fact, their responsibility. See, e.g., Metro. Opera Ass’n, 212 F.R.D. at 221 (quoting
Tarlton v. Cumberland Cty. Corr. Facility, 192 F.R.D. 165, 170 (D.N.J. 2000)) (“Under the federal
rules, the burden does not fall on plaintiff to learn whether, how and where defendant keeps
relevant documents.”).

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access to confidential materials pertaining to other Dunnington clients.26 These procedures, in turn,

increased Infomir’s costs and further delayed discovery, including the Vidulich deposition.27

          If Dunnington lacked the “in house” expertise to discharge its obligations under the 4/25/18

Order, it should have made arrangements with its “outside source” to handle its responsive ESI

competently. See, e.g., Pugh-Ouza v. SpringHill Suites, 2019 WL 3557794, at *10 (S.D.N.Y. July

9, 2019) (requiring defendants to “secure the assistance of a forensic expert to determine whether

the remaining audio may be recovered from [an individual defendant’s] phone”), report and

recommendation adopted, 2019 WL 3554014 (S.D.N.Y. Aug. 5, 2019); Novak, 2015 WL 7313855,

at *3 (noting that plaintiff could have timely complied with the court’s discovery order “via

consultation with an electronic discovery or information technology consultant”). Instead, counsel

delegated their responsibilities to a paralegal with “no specialized technical knowledge” or

relevant technical background (beyond his training session with Dietrich). Vidulich Aff. ¶ 2;

9/21/18 Vidulich Aff. ¶ 2; 10/12/18 Vidulich Aff. ¶ 2; 12/20/18 Vidulich Aff. ¶ 2.

          This proved to be a serious mistake. Although Vidulich understood the 4/25/18 Order well

enough to look for “Wireshark data” on the Firm Laptop, 10/18/18 Vidulich Aff. ¶ 4, his handling

of that data was – at best – incompetent. He located the Channel One PCAP and the Channel One

XPS, identified them as potentially responsive to that Order, and moved them to a different




26
  The parties’ Stipulated Order required Infomir’s experts at Stroz Friedberg to mirror the Firm
Laptop’s hard drive, return the original, search the mirrored copy for Wireshark-related files,
“generate a list of files and data responsive to the search,” submit the list to Dunnington for review,
and wait five business days for Dunnington to review the list for privilege concerns. Only then,
and only if no privilege concerns were raised, was Stroz Friedberg permitted to disclose the
Wireshark files to Infomir. See Stip. Order ¶¶ 1-5.
27
     See Stip. Order ¶¶ 6-11.

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computer. Id. ¶ 5.28 In the process, however, he also removed the PCAP file from the Firm Laptop,

leaving only an artifact to show that it had once existed.29 Moreover, once the Wireshark files were

moved, Vidulich overlooked the Channel One PCAP, which he was unable to “open,” id. ¶ 7, and

plaintiffs produced only the Channel One XPS (which they then falsely claimed to be unrelated to

the investigation described in the Vidulich Affidavit). Thereafter, insofar as the record discloses,

Vidulich and his attorney supervisors made no further effort to produce the Channel One PCAP

for approximately three and a half months, until after the October 5, 2018 discovery conference,

id. ¶¶ 8-10, when Infomir’s counsel (who by then had been educated by Stroz Friedberg) provided

what amounted to a PCAP tutorial.

          On this record, the Court concludes, without difficulty, that plaintiffs violated the 4/25/18

Order by failing to produce the Channel One PCAP.

                  3.     The 7/3/18 Order

          The 7/3/18 Order was, if anything, even more precise. It was issued after Dunnington

moved the Wireshark files from the Firm Laptop to another computer but produced only the XPS

file, dated May 24, 2016. Frustrated by the lack of any comparable data evidencing what Infomir

still understood to have been a May 27, 2016 Wireshark capture, and skeptical that no further files

existed, Infomir asked the Court, on June 26, 2018, for an order directing plaintiffs to “produce

what they have and make a representation that there’s nothing else available.” 6/26/18 Conf. Tr.




28
  Vidulich may have been aided in this task by the Channel One Screenshots, which did list the
Channel One PCAP by name. See Vidulich Aff. Exs. 14, 16 (showing the open file as “Channel
One Capture.pcapng”).
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     See Pl. Ltr. dated Oct. 18, 2018, at 2; id. Ex. A at ECF page 2.

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at 140:7-8. On July 3, 2018 – after Infomir elected to examine the Firm Laptop – the Court made

plaintiffs’ obligations clear:

        Infomir contends that plaintiffs have not yet fully complied with several provisions
        of the April 25 Order, including ¶ 4, which required them to produce “any
        additional documents . . . constituting or recording the information and data that
        Vidulich acquired as a result of his investigatory activities.” For example,
        according to Infomir, plaintiffs have not produced any data from “any ‘network
        protocol analyzer,’ ‘Wireshark,’ or similar investigative process” employed by
        Vidulich on April [sic] 27, 2016. This data is significant, plaintiffs argue, because
        in ¶ 30 of his June 24, 2016 affidavit Vidulich swore that as a result of the
        investigations performed that day, using a network protocol analyzer, he learned
        that Infomir was involved in “content distribution activity.” Among other things,
        Vidulich attested, he learned that the set-top box through which he viewed
        plaintiff’s Channel One broadcast connected to “freetvstat.iptv.infomir.com.ua,”
        with an IP address located within the United States. Plaintiffs, for their part,
        represent that they have produced all of the data they were able to extract from Mr.
        Vidulich’s laptop. No later than July 10, 2018, plaintiffs shall conduct a further
        search of their records, including ESI, and shall produce any additional documents
        constituting or recording the information and data that Vidulich acquired as a
        result of his investigatory activities.

7/3/18 Order ¶ 7 (record citations omitted; additional emphasis added). For avoidance of doubt,

the Court added that Infomir’s decision to examine the Firm Laptop “does not relieve plaintiffs of

their obligation, set forth above, to produce any additional documents constituting or recording the

information and data that Vidulich acquired as a result of his investigatory activities no later than

July 10, 2018.” Id. ¶ 8 (emphasis in the original).

        Once again, I conclude that the Court’s order was “clearly articulated,” Daval Steel Prods.,

a Div. of Francosteel Corp. v. M/V Fakredine, 951 F.2d 1358, 1363 (2d Cir. 1991), and required

“specified discovery,” id., but that plaintiffs failed to comply. The 7/3/18 Order required

production of the Wireshark data underlying the Vidulich Affidavit by July 10, 2018, and specified

that the turnover of the laptop did not satisfy that obligation. Nonetheless, plaintiffs failed to

produce the PCAP file for another three months. In the meantime, Infomir attempted to take

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Vidulich’s deposition without the underlying data, only to hear him repeat statements that all

parties now understand to have been untrue, including that the Wireshark capture occurred on May

27, 2016; that he was “viewing Channel One” on an “active” stream when he created the Channel

One Screenshots; that he did not “save the Wireshark capture data” except “[a]s a screen shot”;

and that he “didn’t delete anything” from the Firm Laptop. Vidulich Dep. Tr. at 28:4-19, 32:1-25,

46:7-15, 73:16, 98:13-99:4, 99:17-21.

       Plaintiffs’ defense – that they did not understand what was required of them because the

7/3/218 Order did not use the term “PCAP” – is even less convincing in the context of the 7/3/18

Order. Not only are the terms of the order clear; by the time it was issued, Vidulich had already

looked for “Wireshark data” on the Firm Laptop, found the Channel One PCAP, and moved it to

another computer for production purposes. 10/18/18 Vidulich Aff. ¶¶ 4-10. Thus, even if I credit

plaintiffs’ contention that the PCAP file was “inadvertently” not produced in June 2018, Pl. Opp.

Mem. at 2, I cannot accept counsel’s representation that no one at Dunnington knew it “existed,”

Blaustein Aff. ¶ 4, until the following October. Moreover, Dunnington’s technological

incompetence (including Vidulich’s asserted inability to open the Channel One PCAP) has no

bearing on the clarity of the order that plaintiffs violated as a result of that incompetence.

       D.     Plaintiffs Made a Series of False Statements in Bad Faith

       Plaintiffs did not merely fail to produce the Channel One PCAP in a timely manner.

Through their investigator and their counsel, they made numerous false statements of fact (many

under oath) about the Wireshark Investigation, the ESI evidencing that investigation, and their

discovery compliance, including:




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       (1)     That the Wireshark capture occurred on May 27, 2016, see Vidulich Aff. ¶¶ 18-23;
               Vidulich Dep. Tr. at 32:1-25; 9/21/18 Vidulich Aff. ¶ 11; Pl. Ltr. dated Sept. 21,
               2018, at 3, when in fact it occurred three days earlier;

       (2)     That Vidulich was watching an “active” Channel One stream on May 27, 2016,
               when he took the Channel One Screenshots, see Vidulich Aff. ¶¶ 24, 26, Vidulich
               Dep. Tr. at 32:1-25, when in fact he was watching the Channel One PCAP;

       (3)     That the Channel One XPS, dated May 24, 2016, reflected an “unrelated
               preliminary” investigation that Vidulich did not “reference” in his original affidavit
               and that plaintiffs never “relied on,” see 9/21/18 Vidulich Aff. ¶¶ 14-17, 19; Pl. Ltr
               dated Sept. 21, 2018, at 3, when in fact that XPS file documented the same May 24
               Wireshark capture reflected in the Channel One Screenshots and the (as yet
               unproduced) Channel One PCAP;

       (4)     That no Wireshark data was saved (other than the Channel One Screenshots), and
               that Vidulich did not know how to save such data or what a PCAP file was, see
               Vidulich Dep. Tr. at 99:3-4, 17-22; 9/21/18 Vidulich Aff. ¶¶ 6, 13, when in fact he
               manually saved all of the data captured by Wireshark on May 24 to the Firm Laptop,
               in native PCAP format, and named the file “Channel One Capture.pcapng”;30 and

       (5)     That Dunnington had produced “everything” in connection with the Wireshark
               Investigation, including “[a]ll the documents [Vidulich] created” and the “one file”
               they found on the Firm Laptop, see, e.g., 6/26/18 Conf. Tr. at 137:8-9, 12-13,
               138:23-139:3, 139:22-23; Pl. Ltr dated Sept. 21, 2018, at 3; 9/21/18 Vidulich Aff.
               ¶¶ 6-7, 11; 10/5/18 Tr. at 67:6-15, when in fact a Dunnington employee moved the
               Channel One PCAP from the Firm Laptop to another firm computer on June 22,
               2018, and left it there, unproduced, while counsel vehemently denied that it existed.

       These statements, taken together, formed a near-constant stream of factual misdirection

that significantly delayed – and nearly derailed – Infomir’s efforts to obtain highly probative ESI

that plaintiffs were twice ordered to produce. Moreover, most of the misstatements related to

“simple but material factual matters,” Metro. Opera Ass’n, 212 F.R.D. at 225, that required no

“specialized technical knowledge” to report accurately (or to correct if initially misstated), such as

when the Wireshark capture took place and whether Vidulich was watching the Channel One



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  In addition, either Vidulich or someone else at Dunnington saved a portion of that data in the
form of the Channel One XPS.

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stream “live,” as opposed to re-running an earlier Wireshark capture, when he took the Channel

One Screenshots. Similarly, plaintiffs’ lawyers and investigator cannot blame their lack of

computer science degrees for their response to Informir’s inquiries about the Channel One XPS,

which was dated May 24 rather than May 27, 2016. Rather than make a reasonable inquiry into

the reason for the discrepancy, Dunnington went on the offensive, inventing an “unrelated

preliminary investigation” that Vidulich supposedly conducted on May 24 but never described in

his original affidavit. 9/21/18 Vidulich Aff. ¶¶ 14-17; Pl. Ltr. dated Sept. 21, 2018, at 3. This

invention, in turn, allowed counsel to claim that the XPS file “has no bearing whatsoever” on

plaintiffs’ allegations. 9/21/18 Vidulich Aff, ¶ 17.31 Even if not perjurious, these statements were

made so cavalierly, with so little regard for counsel’s duties of candor and diligence, “as to rise to

the level of bad faith.” Metro. Opera Ass’n, 212 F.R.D. at 224; see also DeCastro, 309 F.R.D. at

184-85 (finding bad faith where attorney “made multiple incomplete or misleading submissions”

about his client’s discovery compliance and failed to correct them even when alerted to their

“inconsistencies and apparent errors”).

       As for the Channel One PCAP: someone manually saved that file to the Firm Laptop and

named it “Channel One Capture.pcapng.” According to Dietrich, that someone was Vidulich. See

Hr’g Tr. at 121-22. Vidulich himself has been oddly silent on this point since the Channel One

PCAP was produced. The affidavits he filed on and after October 12, 2018 do not explain, discuss,

or even mention his earlier testimony that there never was any PCAP file. See 9/21/18 Vidulich


31
   By the time of the sanctions hearing, plaintiffs were taking a very different position: that the
Channel One XPS contained almost all of the same information (albeit in a less convenient format)
as the Channel One PCAP, including the information necessary for Infomir to determine where
the Channel One video stream was coming from, and therefore that Infomir was not prejudiced by
the delay in producing the PCAP file. See, e.g., Hr’g Tr. at 88.

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Aff. ¶ 6 (“the Wireshark data . . . was not saved”); id. ¶ 21 (the Wireshark data “was never saved,

and therefore could not have been produced”). Nor has Vidulich explained or clarified, in any way,

his prior testimony that he “did not even know how to properly save Wireshark data, let alone what

the native format of Wireshark data is.” Id. ¶ 21.

       On this record, I have little choice but to conclude that Vidulich’s misstatements were

either intentional or – at best – the product of an exceptionally faulty memory, which neither he

nor his supervisors made any effort to jog (such as, for example, by asking Dietrich to remind him

what file format to look for or help him open the one he moved from the Firm Laptop to his desktop

computer on June 22, 2018).32 By the same token, it was – at best – grossly negligent for the

Dunnington attorneys to rely, “apparently without any investigation, on [Vidulich’s] dubious

assertions,” including his assertion that he never saved any PCAP file, “and offer[] them

unhesitatingly to this Court.” DeCastro, 309 F.R.D. at 185.

       Indeed, unlike the sanctioned attorney in DeCastro (whose misconduct consisted largely

of failing to rein in a client who was “deliberately engaged” in discovery misconduct, 309 F.R.D.

at 184), plaintiffs’ counsel exercised considerable control over Vidulich, who was – quite literally

– on their payroll. Dunnington assigned him to conduct the Wireshark Investigation, furnished the



32
   There is, of course, another possibility: that Dietrich, or someone else at Kartina, had remote
control of the Firm Laptop on May 24, 2016, and used that control to save the PCAP file. The only
evidence for this theory, however, is Dietrich’s testimony at the sanctions hearing, which –
although clear – was inconsistent with the remainder of the record, including a photograph, offered
at the hearing, depicting a TeamViewer session on May 19. Moreover, after the PCAP file was
produced, Vidulich admitted, under oath, that on May 27 “I took screenshots of the Wireshark data
that I had previously captured in order to attach it to my affidavit.” 12/20/18 Vidulich Aff. ¶ 7
(emphasis added). I therefore find that it was Vidulich, working under counsel’s supervision, who
saved the Channel One PCAP on May 24, and that Dietrich was – as attorney Dowd suggested –
mistaken as to the date of what all witnesses agree was a single TeamViewer training session.

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necessary equipment, and supervised his work, which was performed in a Dunnington conference

room under the eyes of the same lawyers who later told this Court, inaccurately, that no relevant

ESI was saved. See Hr’g Tr. at 7 (Dowd) (“I was standing in the room as he did it.”).

        Of course counsel knew that Vidulich lacked any relevant technical background. Rather

than retain a technically competent investigator, however, plaintiffs’ attorneys appear to have

made a deliberate decision to put the Wireshark investigation into the hands of a novice, which

they then sought to turn to their advantage.33 Similarly, rather than ask their “in house computer

person” or an “outside source” to identify and produce the Wireshark data on the Firm Laptop, as

promised, counsel delegated the task of complying with the 4/25/18 Order and the 7/3/18 Order to

Vidulich. Even after Infomir told plaintiffs that a PCAP file called “Channel One Capture.pcapng”

had once been saved to the laptop but was no longer there (because, plaintiffs now acknowledge,

Vidulich “inadvertently” moved it), counsel left discovery compliance in Vidulich’s hands, and

continued to claim that they had turned over “[e]verything that was saved or screen shotted.”

10/5/18 Tr. at 67:6-15. When caught out, counsel again attempted to turn their reliance on

underqualified staff to strategic advantage.34

        In short, plaintiffs’ counsel, like defendant’s counsel in Metro. Opera Ass’n, “continually

professed full compliance – falsely and, as confirmed by [subsequent events], without making a




33
  See, e.g., Pl. Ltr. dated Sept. 21, 2018, at 4 (arguing that plaintiffs should not be liable for
spoliation because “Vidulich saved what he understood as a non-expert to be the relevant data,
namely the Wireshark output, by screenshotting it”).
34
   See, e.g., Pl. Ltr. dated Oct. 12, 2018, at 3 (arguing that plaintiffs should not be faulted for their
late production of the Channel One PCAP because, “while a forensic expert employed by the FBI
may be expected to understand that a . . . .pcap file would be important . . . a non-expert like Mr.
Vidulich investigating infringement of television channels would not”).

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reasonable inquiry.” 212 F.R.D. at 222. This conduct alone “constitutes such gross negligence as

to rise to intentional misconduct.” Id. Moreover, counsel did not merely look the other way when

Vidulich made factually dubious statements to the Court. In addition to filing his affidavits (which

they likely assisted in drafting), counsel amplified, repeated, and affirmatively vouched for his

testimony in their own letters, affidavits, and court presentations.35 I therefore conclude that

plaintiffs engaged in “a pattern of behavior which could reasonably be construed as a bad faith

effort to thwart [Infomir’s] discovery efforts.” DLC Mgmt. Corp. v. Town of Hyde Park, 163 F.3d

124, 135-36 (2d Cir. 1998) (affirming adverse inference and monetary sanctions pursuant to the

court’s inherent powers where defendants belatedly produced a box of relevant documents, past

the discovery cut-off, after finding it “where it had always been – in a Town Hall closet that

defendants apparently had never bothered to search”).

       E.    Monetary Sanctions and Preclusion Are Warranted

               1.      Standards

       “Disciplinary sanctions under Rule 37 are intended to serve three purposes. First, they

ensure that a party will not benefit from its own failure to comply. Second, they are specific

deterrents and seek to obtain compliance with the particular order issued. Third, they are intended

to serve a general deterrent effect on the case at hand and on other litigation, provided that the

party against whom they are imposed was in some sense at fault.” S. New Eng. Tel. Co., 624 F.3d

at 149 (quoting Update Art, Inc., 843 F.2d at 71).


35
   See, e.g., Affidavit of Raymond J. Dowd Confirming Accuracy and Procedure of Christopher
Vidulich, dated Dec. 20, 2018 (Dkt. No. 712), ¶¶ 8-10 (attesting that attorney Dowd “witnessed
Mr. Vidulich using Wireshark” in May 2016 and “confirm[ing] that Mr. Vidulich’s description of
his use of Wireshark to capture data from the Aura HD STB while streaming Russian language
programming was accurate in his affidavit”).

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       District courts have “broad discretion in fashioning an appropriate sanction” for discovery

violations. Residential Funding Corp., 306 F.3d at 101; see also Linde v. Arab Bank, PLC, 706

F.3d 92, 115 (2d Cir. 2013) (“there are few bright-line rules for determining whether a sanction is

proper”); Luft v. Crown Publishers, Inc., 906 F.2d 862, 865 (2d Cir. 1990) (the decision to impose

a particular discovery sanction “is committed to the sound discretion of the district court and may

not be reversed absent an abuse of that discretion”).

       The “mildest” sanction under Rule 37(b) “is an order to reimburse the opposing party for

expenses caused by the failure to cooperate.” Seena Int’l Inc., 2016 WL 2865350, at *11 (quoting

Cine Forty-Second St. Theatre Corp. v. Allied Artists Pictures Corp., 602 F.2d 1062, 1066 (2d Cir.

1979)). “Monetary sanctions are the norm, not the exception, when a party is required to engage

in motion practice in order to obtain the discovery to which it is entitled.” Id.

       “If monetary sanctions are not sufficient, more stringent orders may be issued,” including

preclusion orders, adverse inference orders, and orders deeming disputed facts determined

adversely to the disobedient party. Joint Stock Co. Channel One, 2017 WL 3671036, at *19-20

(quoting Seena Int’l Inc., 2016 WL 2865350, at *12) (internal quotation marks omitted). “Such

sanctions affect the merits of the litigation by placing the risk of a verdict uninformed by important

facts on the party that made evidence of those facts unavailable in the discovery process.” Hand

Picked Selections, Inc. v. Handpicked Wines Int’l Pty Ltd., 2006 WL 1720442, at *3 (E.D.N.Y.

June 22, 2006). These sanctions are particularly appropriate where the harm arising from the

discovery failure is not merely “a matter of costs.” Id. They also serve to “enforce compliance with

the discovery rules and maintain a credible deterrent to potential violators.” Daval Steel Prods.,




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951 F.2d at 1367 (citing Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639, 643

(1976)).

       In this Circuit, as noted above, “negligence is generally sufficient to establish culpability

for purposes of imposing most sanctions,” Fitzpatrick v. Am. Int’l Grp., Inc., 2013 WL 9948284,

at *9 (S.D.N.Y. May 29, 2013) (citing Residential Funding Corp., 306 F.3d at 108), including non-

dispositive preclusion orders. See, e.g., Brown v. City of New York, 2018 WL 3193208, at *2

(E.D.N.Y. June 28, 2018) (upholding magistrate judge’s order issuing preclusion and monetary

sanctions where defendants negligently failed to produce a key audio recording until after

discovery closed, blaming the delay on “inadvertent clerical error”); New York State Nat. Org. for

Women v. Cuomo , 1997 WL 671610, at *5 (S.D.N.Y. Oct. 28, 1997) (preclusion sanctions “may

be imposed where the failure to meet discovery obligations is not willful, but merely negligent”).

       The most “severe” measures, including terminating sanctions, are ordinarily reserved for

cases involving “intentional behavior, actions taken in bad faith, or grossly negligent behavior,”

Metro. Opera Ass’n, 212 F.R.D. at 219, including “gross professional negligence.” See Cine Forty-

Second Street Theatre Corp., 602 F.2d at 1068 (“where gross professional negligence has been

found[,] that is, where counsel clearly should have understood his duty to the court[,] the full range

of sanctions may be marshalled”); Am. Cash Card Corp. v. AT&T Corp., 210 F.3d 354, 2000 WL

357670, at *5 (2d Cir. Apr. 6, 2000) (summary order) (affirming terminating sanctions and

rejecting appellants’ attempt to “avoid responsibility for their failure to obey the district court’s

discovery orders by shifting the blame to the incompetence of their trial counsel”). Likewise, bad

faith is required “for the imposition of sanctions under the inherent power doctrine.” DLC Mgmt.

Corp., 163 F.3d at 136.


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        Any sanction imposed under Rule 37(b) must be “just,” and its severity “must be

commensurate with the non-compliance.” Joint Stock Co. Channel One, 2017 WL 3671036, at

*21 (quoting Shcherbakovskiy v. Da Capo Al Fine, Ltd., 490 F.3d 130, 140 (2d Cir. 2007)). The

sanction imposed must also “relate to the particular claim to which the discovery order was

addressed.” Seena Int’l Inc., 2016 WL 2865350, at *14 (quoting Daval Steel Prods., 951 F.2d at

1366). Within these broad parameters, the district court’s discretion is guided by the application

of four factors: “(1) the willfulness of the non-compliant party or the reason for noncompliance;

(2) the efficacy of lesser sanctions; (3) the duration of the period of noncompliance; and (4)

whether the non-compliant party had been warned of the consequences of noncompliance.” S. New

Eng. Tel. Co., 624 F.3d at 144 (quoting Agiwal v. Mid Island Mortg. Corp., 555 F.3d 298, 302-03

(2d Cir. 2009)). “[T]hese factors are not exclusive, and they need not each be resolved against the

party challenging the district court’s sanctions for us to conclude that those sanctions were within

the court’s discretion.” Id.

        While a court “should always seek to impose the least harsh sanction that will remedy the

discovery violation and deter such conduct in the future,” Joint Stock Co. Channel One, 2017 WL

3671036, at *21 (quoting Grammar v. Sharinn & Lipshie, P.C., 2016 WL 525478, at *3 (S.D.N.Y.

Feb. 8, 2016)), it need not “exhaust possible lesser sanctions.” Shcherbakovskiy v. Seitz, 450 F.

App’x 87, 88 (2d Cir. 2011).

                2.      Monetary Sanctions

        Given plaintiffs’ unjustified failure to obey two clearly articulated discovery orders issued

by this Court, they and their counsel must pay Infomir’s “reasonable expenses, including attorneys’

fees, caused by the failure.” Fed. R. Civ. P. Rule 37(b)(2)(C). See In re Sept. 11th Liab. Ins.


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Coverage Cases, 243 F.R.D. at 130 (finding “negligence or worse” and imposing monetary

sanctions where counsel obtained a relevant document in March 2003, but “left it buried in a box

for nearly two years,” during which time they “fail[ed] to recognize” its importance even “when

alerted to its possible existence by opposing counsel”). The reimbursable expenses include

Infomir’s attorney’s fees, expert fees, and other costs reasonably incurred in obtaining and

enforcing the 4/25/18 Order and the 7/3/18 Order (including the Vidulich deposition), as well as

the expenses reasonably incurred in litigating the instant sanctions motion.36

       “The Court has wide discretion to apportion Rule 37 monetary sanctions between a party

and its counsel.” Joint Stock Co. Channel One, 2017 WL 3671036, at *20 (collecting cases). In

this case, the sanctionable conduct was committed by counsel. Effective deterrence therefor

demands that the monetary sanction also run against counsel. See, e.g., Yeboah, 2000 WL 1576886,

at *4 (awarding sanctions against “counsel personally” where “his own conduct, including



36
   Although Infomir could have pressed plaintiffs to produce the ESI underlying the Wireshark
Investigation at any time after the Vidulich Affidavit was filed, it did not do so until April 2018,
when it subpoenaed Vidulich and sought an order compelling plaintiffs to produce “the
electronically stored data from the ‘network protocol analyzer’ referenced in Mr. Vidulich’s
affidavits.” Joint Ltr. dated Apr. 16, 2018, at 4. Prior to that, although Infomir sought (and
obtained) an order directing plaintiffs to supplement their response to document request No. 56, it
voluntarily limited that order to tests that “plaintiffs, not their attorneys, have done,” 2/9/18 Conf.
Tr. at 121:15-19, thereby excluding the Wireshark ESI. Plaintiffs are not required to reimburse
Infomir for the cost of those (or earlier) discovery proceedings. Moreover, while Infomir argues
with some force that plaintiffs’ failure to produce the Channel One PCAP “permeated all aspects
of this case,” Infomir Moving Mem. at 21, and undermined its ability to respond effectively to
plaintiffs’ motions to amend and for summary judgment, that species of prejudice bears no
particular relationship to the expenses that Infomir incurred while so responding. Thus, plaintiffs
are not required to reimburse Infomir for those expenses. See also Yeboah v. United States, 2000
WL 1576886, at *5 (S.D.N.Y. Oct. 20, 2000) (“Since the specific purpose of Rule 37 is to provide
an array of sanctions for a party's discovery failures, the only time for which a party can
legitimately be compensated as a sanction is time spent during the discovery phase of the case.”).


                                                  61
misrepresentations and repeated dishonored commitments, wasted the time and resources of

[defendants] and the Court”).

         Neither plaintiffs nor Infomir has briefed the question of whether or to what degree

plaintiffs themselves should be liable for Infomir’s expenses. It is possible that Dunnington was

silent on this issue to protect its clients, or to avoid “compromis[ing] attorney-client

confidentiality.” Merck Eprova AG v. Gnosis S.P.A., 2010 WL 1631519, at *6 (S.D.N.Y. Apr. 20,

2010). The question is further complicated by the involvement of a non-party client, Kartina, which

helped Dunnington set up the Wireshark Investigation but failed to provide even the minimal

follow-up that would have alerted counsel to the central inaccuracy in the Vidulich Affidavit. See

Hr’g Tr. at 114-15 (Dietricht) (“If I would see the affidavit, I will [sic] correct him about how the

set top box communicate[s] with the server and where the video is coming from.”).

       Under these circumstances, the Court elects “not to apportion liability” among plaintiffs,

their counsel, and Kartina. Merck Eprova, 2010 WL 1631519, at *6. Even if the Broadcasters were

uninvolved in the discovery misconduct committed on their behalf, it would ill-serve both the

specific and the general deterrence goals of Rule 37 to allow them to escape sanctions by blaming

“the incompetence of their trial counsel.” Am. Cash Card Corp., 2000 WL 357670, at *5. As the

Second Circuit explained in Cine Forty-Second St. Theatre Corp., “A litigant chooses counsel at

his peril.” 602 F.2d at 1064, 1065, 1068 (affirming a severe preclusion order, “tantamount to a

dismissal of [plaintiff’s] damage claim,” where plaintiff failed to comply with a discovery order

“due to a total dereliction of professional responsibility, amounting to gross negligence,” by its

counsel). See also New York State NOW, 1997 WL 671610, at *5 (“[T]he acts and omissions of

counsel are generally attributed to the client.”).


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       The monetary sanction will therefore run jointly and severally, without apportionment,

against plaintiffs and their counsel of record, permitting them to settle the issue among themselves

without further public motion practice. See Merck Eprova, 2010 WL 1631519, at *6 (reasoning

that the disobedient party and its counsel were “best suited” to work out apportionment without

judicial involvement).37

               3.      Preclusion

       Preclusion orders are often described as “severe,” particularly where the order sought

would effectively terminate the litigation or eviscerate the disobedient party’s damages case. See,

e.g., Scantibodies Lab., Inc. v. Church & Dwight Co., 2016 WL 11271874, at *33 (S.D.N.Y. Nov.

4, 2016) (rejecting request that plaintiff be precluded “from offering any evidence of damages” as

a sanction for the late disclosure of damages-related discovery, and instead recommending that

discovery be reopened at plaintiff’s expense), report and recommendation adopted, 2017 WL

605303 (S.D.N.Y. Feb. 15, 2017).

       The severity of the sanction, however, depends “on the nature of the proposed preclusion.”

Fitzpatrick, 2013 WL 9948284, at *9. Thus, in Fitzpatrick, where defendant AIG negligently failed

to retain data relevant to plaintiff’s damages calculation, the court rebuffed plaintiff’s effort to

“preclude defendants from challenging in any way” the estimates of their own damages expert,

calling that request “plainly overbroad.” Id. at 12. Instead, the court fashioned a “more limited

remedy,” which precluded defendants from attacking plaintiff’s estimates only where those

estimates were necessarily based on “data surrogates,” in the absence of the original data that AIG



37
 Should Dunnington and its clients be “unable to agree on apportionment of these sanctions, they
may ask the Court to intercede.” Merck Eprova, 2010 WL 1631519, at *6.

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failed to preserve. Id.; see also Star Direct Telecom, Inc. v. Glob. Crossing Bandwidth, Inc., 2010

WL 3420741, at *6 (W.D.N.Y. July 23, 2010) (recommending a “limited preclusion order”

preventing plaintiffs from offering evidence of damages resulting from a specific business

arrangement, where defendant had to file three motions, including one for sanctions, before

plaintiff produced the relevant documents), report and recommendation adopted, 2010 WL

3420730 (W.D.N.Y. Aug. 23, 2010); Louis Vuitton Malletier v. Dooney & Bourke, Inc., 2006 WL

3476735, at *8, *11 (S.D.N.Y. Nov. 30, 2006) (rejecting request for “broad preclusion of any

evidence relating to public confusion, comparative product quality and dilution” as a sanction for

plaintiff’s late and incomplete production of customer communications bearing on these issues,

but issuing a “more limited” order “deeming as true” defendant’s contentions that none of the

customer communications evidenced confusion, quality complaints, or dilution).

       In this case, the remedy that Infomir seeks is “[a] limited preclusion sanction, applying

only to plaintiffs’ reliance upon the May 2016 investigations.” Infomir Moving Mem. at 21. The

order sought would not prevent plaintiffs from arguing or presenting evidence to demonstrate that

Infomir engaged in unlawful streaming of plaintiffs’ programming; it would merely prevent them

from relying on the Vidulich Affidavit, or the underlying Wireshark Investigation, for that purpose.

According to plaintiffs themselves, this will be no great hardship, because they have adduced

“overwhelming” evidence that Infomir is responsible for “a massive IPTV streaming operation.”

Dietrich Decl. ¶ 71. See also Blaustein Decl. ¶ 50 (“Infomir’s sanctions allegations were a

smokescreen designed to detract from the volumes of evidence against it”); 10/5/18 Tr. at 61:15-

62-2 (attorney Dowd, arguing that plaintiffs “have much more” than the Vidulich Affidavit to

show that Infomir is a “streaming defendant”); Joint Ltr. dated April 16, 2018, at 5 (plaintiffs,


                                                64
resisting discovery regarding the Wireshark Investigation as “needlessly cumulative and costly”

because plaintiffs could demonstrate Infomir’s piracy at any time using an iPad).

       When asked to issue a preclusion sanction, the district court should consider (in addition

to the factors listed above) “the prejudice that would be occasioned to the discovered party’s case

by the proposed preclusion.” Louis Vuitton Malletier, 2006 WL 3476735, at *8. Here, it seems

inconceivable that plaintiffs would be prejudiced by the exclusion of the Vidulich Affidavit (which

they concede to be inaccurate in several key respects) or the Channel One Screenshots (which they

concede to be non-probative of their claims). Moreover, although they now characterize the

Channel One PCAP as “one of the best pieces of evidence in [their] case,” Hr’g Tr. at 6, plaintiffs

have made no serious effort to demonstrate that its exclusion from evidence would prejudice them

– and no effort at all to show prejudice disproportionate to the gravity of their misconduct.

       I therefore conclude that the sanction proposed by Infomir falls at the milder end of the

Rule 37(b) spectrum. Moreover, since the key evidence to be excluded is the same PCAP file that

plaintiffs failed to recognize as probative in 2017, mislaid – and falsely claimed to be nonexistent

– in 2018, and ultimately produced only after violating a series of court orders and facing spoliation

sanctions, I also conclude that an order precluding plaintiffs from introducing or relying on that

file is well-tailored to ensure that they “will not benefit from [their] own failure to comply” with

this Court’s orders. S. New Eng. Tel. Co., 624 F.3d at 149.

       A review of the four Agiwal factors confirms these conclusions.

                       a.      Willfulness and Reasons for Noncompliance

       “Noncompliance with discovery orders is considered willful when the court’s orders have

been clear, when the party has understood them, and when the party’s noncompliance is not due


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to factors beyond the party’s control.” Thompson v. Jam. Hosp. Med. Ctr., 2015 WL 7430806, at

*3 (S.D.N.Y. Nov. 20, 2015) (internal citation omitted); accord Infinity Headwear & Apparel v.

Jay Franco & Sons, 2017 WL 4402541, at *5 (S.D.N.Y. Oct. 2, 2017). That standard is easily met

here. The 4/25/18 Order and the 7/3/18 Order were clear. Attorney Blaustein’s representations that

Dunnington would extract the Wireshark data from the Firm Laptop, together with Vidulich’s

attempt to do just that, show that plaintiffs’ counsel understood both orders. Moreover, plaintiffs’

noncompliance was due entirely to factors within their own control. Indeed, viewing the evidence

in the light most favorable to plaintiffs, the primary reason for their persistent failure to turn over

the Channel One PCAP was a remarkable series of unforced errors by a poorly trained and

technically incompetent investigator knowingly chosen – and inadequately supervised – by

attorneys who sought to use his lack of expertise as a shield while blithely assuring the Court that

no such file existed, and actively resisting Infomir’s repeated efforts to persuade them otherwise,

until threatened with spoliation sanctions, at which point they miraculously located the missing

ESI on their investigator’s desktop computer, precisely where he put it.

       Plaintiffs’ conduct was therefore not merely willful but, as Judge Preska put it in Metro.

Opera Ass’n, “aggressively willful.” 212 F.R.D. at 222 (emphasizing counsel’s “repeated

representations of full compliance” made in the face of the opposing party’s “continuing high-

decibel allegations of failure to make adequate inquiry and repeated demonstrations of incomplete

compliance and non-compliance with discovery requests”).

                       b.      Efficacy of Lesser Sanctions

       Infomir is correct that a monetary award alone cannot adequately serve the purposes of

Rule 37 sanctions. Plaintiffs have litigated this case aggressively for more than three and a half


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years, engaging in broad-ranging party and non-party discovery on two continents and peppering

defendants with motions, many of them relying, directly or indirectly, on the Vidulich Affidavit.38

At no time during this period have plaintiffs given any indication that they are constrained by

budgetary limitations.39 Moreover, as Infomir notes, plaintiffs’ financing arrangement with

Kartina may render them “immune,” in whole or in part, “from the normal financial incentives

governing good faith litigation.” Infomir Moving Mem. at 22. A monetary sanction alone is

therefore unlikely to have an adequate deterrent effect.

       Nor will a monetary sanction alone ameliorate the prejudice that Infomir has suffered as a

result of plaintiffs’ discovery misconduct. The fact that the Channel One PCAP was ultimately

“produced in advance of expert discovery,” Pl. Opp. Mem. at 4, does not make its lengthy

concealment “harmless.” Id. Had it been timely produced as part of plaintiffs’ automatic

disclosures, or in response to Infomir’s initial set of document requests, Infomir could have used

it to challenge the allegations in plaintiffs’ FAC, or in opposition to plaintiffs’ first summary



38
   On May 24, 2019, while the instant motion was pending, plaintiffs moved for leave to file a
Second Amended Complaint (SAC) that would, among other things, add a new defendant, “V-Net
DBA Infomir USA,” as well as new allegations concerning Infomir’s conduct since the FAC was
filed. Like the FAC, the proposed SAC alleges that “the Infomir Defendants both operate a pirate
streaming service and manufacture and sell equipment and software designed to assist and profit
from other pirates.” Prop. SAC (Dkt. No. 751) ¶ 1 (emphasis in the original). Similarly, like the
FAC, the proposed SAC attaches and relies upon the Vidulich Affidavit to support its allegations
concerning Infomir’s “pirate streaming service.” Id. ¶ 249 & Ex. 27.
39
  On October 19, 2017, plaintiffs moved pursuant to Local Civil Rule 54.2 for an order requiring
Infomir and another defendant, Goodzone, to post bonds in the amount of $400,000 apiece as
security for plaintiffs’ costs. Goodzone cross-moved, pursuant to the same rule, to compel
plaintiffs to post a bond. At that time, plaintiffs estimated that they had incurred over $405,000 in
legal fees and costs in connection with “motion practice with Infomir and Goodzone,” and
“anticipated additional legal fees and costs of between $401,377.60 and $601,033.60 to conduct
discovery of Infomir and Goodzone.” Pl. Mem. dated Oct. 19, 2017 (Dkt. No. 386), at 11. Both
bond motions were denied. (Dkt. Nos. 616, 668.)

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judgment motion (which was fully briefed before plaintiffs withdrew it), or – more generally – to

better formulate and execute its overall litigation strategy, including the depositions of plaintiffs’

Rule 30(b)(6) witnesses (each of whom, as noted above, swore that the facts stated in the Vidulich

Affidavit were true). Thus, “plaintiff[s’] hopelessly belated compliance should not be accorded

great weight.” Cine Forty-Second St. Theatre Corp., 602 F.2d at 1068.

       As an alternative to a preclusion order, plaintiffs suggest “another deposition” of Vidulich.

Pl. Opp. Mem. at 3, 21-22. Had plaintiffs’ misconduct been confined to the first Vidulich

deposition, a second deposition (at plaintiffs’ expense) might be an appropriate remedy. In this

case, however, the prejudice to Infomir flows primarily from plaintiffs’ persistent failure to

produce the ESI underlying the Wireshark investigation. Asking Vidulich more questions at this

late date cannot cure that prejudice. A limited preclusion order, however, can even the

playing field by preventing plaintiffs from taking unfair advantage of evidence that it

withheld from its adversary during fact discovery. See also Fed. R. Civ. P. 37(c)(1)

(prescribing preclusion as the presumptive remedy for a party’s failure to provide information or

identify a witness as required by Rule 26(a) or (e)).

                       c.      Duration of Period of Noncompliance

       Courts “have found noncompliance for a period of several months sufficient to warrant

dismissal or default.” Urbont v. Sony Music Entm’t, 2014 WL 6433347, at *3 (S.D.N.Y. Nov. 6,

2014) (granting default sanctions). See, e.g., Agiwal, 555 F.3d at 303 (affirming order dismissing

case where plaintiff defied magistrate judge’s discovery orders “over a span of approximately six

months”). Lesser sanctions are frequently imposed after a “relatively short” period of

noncompliance, particularly where, as here, the underlying documents were “long overdue” by the


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time the discovery order was issued. 3801 Beach Channel, Inc. v. Shvartzman, 2007 WL 879668,

at *4, *6 (E.D.N.Y. Mar. 21, 2007) (issuing monetary sanctions on March 21 for defendants’

failure to produce documents due, pursuant to the court’s orders, on January 8); New York State

NOW, 1997 WL 671610, at *4 (issuing conditional order of preclusion where defendants failed to

fully comply with production order for five months).

       In this case, plaintiffs were out of compliance with their discovery obligations for more

than two years. Even after the Court ordered them to produce the ESI underlying the Wireshark

Investigation on April 25, 2018, it took them almost six months to disclose the Channel One PCAP

(during which period I issued, and they violated, the 7/3/18 Order as well). In the meantime,

Infomir was required to take Vidulich’s deposition without the ESI from which he could have been

effectively cross-examined,40 and was further required to perform its own forensic examination of

the Firm Laptop (work that plaintiffs should have done themselves) in order to assist plaintiffs in

finding and producing the electronic file that they mislaid.

                       d.     Warning

       “Parties and counsel have no absolute entitlement to be ‘warned’ that they disobey court

orders at their peril.” Daval Steel Prods., 951 F.2d at 1366. “Discovery orders are meant to be

followed.” Bambu Sales, Inc. v. Ozak Trading Inc., 58 F.3d 849, 853 (2d Cir. 1995), abrogated on

other grounds by 4 Pillar Dynasty LLC v. New York & Co., Inc., 933 F.3d 202 (2d Cir. 2019). “A


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   Plaintiffs produced the Channel One XPS prior to the Vidulich deposition. However, when
Infomir’s counsel asked Vidulich about the “source” of that XPS file, attorney Dowd instructed
the witness not to answer on the ground that the question went “way outside the scope of his
declarations.” Vidulich Dep. Tr. at 99:5-16. Thereafter, plaintiffs falsely claimed that the Channel
One XPS was irrelevant to the Vidulich Affidavit because it was the product of an unrelated (and
fictitious) “preliminary” Wireshark investigation. Pl. Ltr. dated Sept. 21, 2018, at 3; 6/21/18
Vidulich Aff. ¶¶ 14-15.

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party who flouts such orders does so at his peril.” Update Art, 843 F.2d at 73. See also Grammar,

2016 WL 525478, at *4 (S.D.N.Y. Feb. 8, 2016) (quoting Gurvey v. Cowan, Liebowitz & Lathman,

P.C., 2014 WL 715612, at *6 (S.D.N.Y. Feb. 25, 2014)) (attorneys are “chargeable with knowing

the consequences of violating a court order”). In this case, moreover, plaintiffs and their counsel

are no strangers to discovery sanctions, having frequently moved for severe penalties against

various defendants, including Infomir.41 I therefore conclude that plaintiffs were adequately

informed that violation of the 4/25/18 Order and the 7/3/18 Order could lead to sanctions.

V.      CONCLUSION

        For the reasons stated above, Infomir’s motion is GRANTED.

        It is hereby ORDERED that plaintiffs are precluded from introducing or relying on the

June 24, 2016 Vidulich Affidavit, any other report of, testimony about, or opinions based on the



41
   On October 17, 2016, plaintiffs moved against defendant Panorama Alliance LLP (Panorama)
and its counsel, seeking Rule 37(b) sanctions up to and including the entry of a default judgment,
together with a fee award. (Dkt. No. 127.) I granted the motion, directed that certain facts be taken
as established, and awarded a monetary sanction against Panorama and its lawyer, jointly and
severally. Joint Stock Co. Channel One, 2017 WL 3671036, at *27. The award was later fixed at
$61,475.97. (Dkt. No. 747.) On October 10, 2017, invoking 18 U.S.C. § 401 and the Court’s
inherent authority, plaintiffs moved for adverse inference sanctions, civil and criminal contempt
orders, and an “award of statutory damages of at least $20,000,000” against Panorama and
defendant Asaf Yevdayev – both of whom had by then defaulted – for violating this Court’s post-
default discovery orders. (Dkt. No. 372.) I analyzed the motion pursuant to Rule 37(b) and granted
it to the extent of drawing an adverse inference, taking certain facts as established, and awarding
fees. Joint Stock Co. Channel One Russia Worldwide v. Infomir LLC, 2018 WL 4760345, at *11-
14 (S.D.N.Y. Sept. 28, 2018). On September 14, 2018 – the same day that Infomir first sought
leave to file a spoliation motion against plaintiffs – plaintiffs filed a letter-motion seeking sanctions
pursuant to Rule 37(b) against Infomir for failing to produce various documents. (Dkt. No. 662.)
Plaintiffs requested, among other things, that the Court find certain facts to be true, authorize them
to conduct additional discovery against Infomir (after the fact discovery close), and award a
monetary sanction. Id. I granted the motion in part, directing Infomir to produce certain email
attachments. (Dkt. No. 679.) However, “[g]iven the extent to which plaintiffs’ application
overreached,” I found that “an award of expenses would be unjust.” Id.

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May 2016 Wireshark Investigation, and any data or information captured during that Wireshark

Investigation (including but not limited to the Channel One PCAP, the Channel One XPS, the

Channel One PDF, and the Channel One Screenshots), except in response to any use of the same

evidence by Infomir.

       It is further ORDERED that plaintiffs and their counsel shall reimburse Infomir for its

attorney’s fees, expert fees, and other expenses reasonably incurred in obtaining and enforcing the

4/25/18 Order and the 7/3/18 Order (including the Vidulich deposition), as well as its expenses

incurred in litigating the instant sanctions motion. Infomir shall file one or more declarations

setting forth those expenses no later than October 11, 2019, and shall authenticate and attach the

relevant time and expense records, including attorney time records and invoices for out of pocket

expenses. Plaintiffs may file responding papers, limited to the amount of fees and costs to be

awarded, no later than October 25, 2019. There shall be no reply.

       It is further ORDERED that the parties shall meet and confer concerning the remainder of

the pretrial schedule in this action, including expert discovery, and shall submit a proposed

scheduling order no later than October 11, 2019. The proposed order shall also address the status

of plaintiffs’ motion for leave to file a Third Amended Complaint (Dkt. No. 748) in light of the

fact that the proposed pleading attaches and relies upon the Vidulich Affidavit. If the parties

disagree, they shall submit a joint letter attaching the competing versions of the proposed order

and succinctly describing the areas of disagreement, without argument.




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     The Clerk of Court is respectfully directed to close the motion at Dkt. No. 692.

Dated:   New York, New York
         September 26, 2019
                                               SO ORDERED.



                                               _______________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge




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                       Appendix
